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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                           DOUGLAS F. CARLSON,
                                   7                                                         Case No. 15-cv-06055-JCS
                                                        Plaintiff,
                                   8
                                                 v.                                          ORDER GRANTING PLAINTIFF’S
                                   9                                                         MOTION FOR SUMMARY JUDGMENT
                                           UNITED STATES POSTAL SERVICE,                     AND DENYING DEFENDANT’S
                                  10                                                         MOTION FOR SUMMARY JUDGMENT
                                                        Defendant.
                                  11                                                         Re: Dkt. Nos. 40, 41

                                  12   I.       INTRODUCTION
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 United States District Court




                                  13            Plaintiff Douglas F. Carlson, proceeding pro se, filed this action against the United States

                                  14   Postal Service (―Postal Service‖) seeking documents responsive to three requests that he submitted

                                  15   under the Freedom of Information Act (―FOIA‖), 5 U.S.C. § 552. The Postal Service responded to

                                  16   the requests after Carlson filed his complaint, producing responsive documents to all three

                                  17   requests. It redacted certain information to which Plaintiff claims he is entitled, however.

                                  18   Presently before the Court are the parties‘ summary judgment motions (―the Motions‖). A

                                  19   hearing on the Motions was held on June 30, 2017 at 9:30 a.m. For the reasons set forth below,

                                  20   the Court GRANTS Carlson‘s motion for summary judgment and DENIES the Postal Service‘s

                                  21   motion for summary judgment.1

                                  22   II.      BACKGROUND
                                  23            A.    Carlson’s Activities as a “Postal Watchdog” and a Postal Enthusiast
                                  24            Carlson is a self-described ―postal watchdog and consumer advocate.‖ Declaration of

                                  25   Douglas F. Carlson in Support of Motion for Summary Judgment, Docket No. 42 (―Carlson

                                  26   Motion Decl.‖) ¶ 1. According to Carlson, ―[f]or over 20 years, [he has] advocated for better

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                                  28    The parties have consented to the jurisdiction of the undersigned magistrate judge for all
                                       purposes pursuant to 28 U.S.C. § 636(c).
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                                   1   postal services and lower rates and fees, in Postal Regulatory Commission (PRC) proceedings and

                                   2   in direct communications with the Postal Service.‖ Id. ¶ 2. He estimates that he has written

                                   3   approximately 1,200 letters to the Postal Service relating to service issues. Id. ¶ 8. He has also

                                   4   submitted hundreds of FOIA requests to obtain records from the Postal Service. See Declaration

                                   5   of Matthew J. Connolly, Esq., Docket No. 40-2 (―Connolly Motion Decl.) ¶ 6 (stating that internal

                                   6   Postal Service records reflect that between February 13, 2012 and February 13, 2017 Carlson

                                   7   submitted 437 FOIA requests to the Postal Service). According to the Postal Service, he has filed

                                   8   at least six lawsuits against the Postal Service related to his FOIA activity. Declaration of Janine

                                   9   Castorina (―Castorina Motion Decl.‖) ¶ 6.

                                  10           Carlson contends he has ―improved collection times in many cities, including Santa Cruz,

                                  11   California‖ due to his efforts. Id. ¶ 6. He points to an Oakland Tribune editorial that

                                  12   complimented him personally for his efforts to improve service. Carlson Motion Decl. ¶ 5 & App.
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                                  13   1 (August 1, 2001 Op-Ed piece entitled ―West loses as postal service cuts back‖ describing

                                  14   ―clandestine changes in the U.S. Postal service delivery schedules‖ that allegedly resulted in

                                  15   inequity to California and other Western states, which were revealed only through ―Carlson‘s

                                  16   persistence‖ and stating that Carlson ―is to be thanked and praised for bringing it to public

                                  17   attention.‖).

                                  18           Carlson also considers his interest in the Postal Service to be a hobby and shares his

                                  19   interest with other postal enthusiasts. Id. ¶ 12. According to Carlson, ―[s]ome of these people

                                  20   curate a collection of paper and electronic photographs of post offices nationwide for the Post

                                  21   Mark Collectors Club, which operates a museum in Ohio and an Internet Web site. One person

                                  22   operates his own Web site, Postlandia, which is dedicated to photographs of post offices.‖ Id.; see

                                  23   also Declaration of Evan Kalish (―Kalish Decl.‖) ¶ 4 (stating that he manages the Postlandia blog,

                                  24   ―which presents stories and photographs of post offices and places across the United States,‖ and

                                  25   also manages ―the world‘s largest online collection of curated post office photographs for the Post

                                  26   Mark Collectors Club (PMCC)‖ and that ―Mr. Carlson has frequently shared with [him]

                                  27   information about his postal interests‖).

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                                   1          B.    The Santa Cruz Incident

                                   2          On January 10, 2015, the Santa Cruz Sentinel ran an article about the relocation of the East

                                   3   Santa Cruz Station post office (―the East Santa Cruz Station‖). Carlson Motion Decl. ¶ 14 (citing

                                   4   http://www. santacruzsentinel.com/ article/ NE/20150110/NEWS/150119986). The article

                                   5   included pictures of the old post office location and information about the opening of the new post

                                   6   office. Id. Carlson visited the new location on the afternoon of January 11, 2015, where

                                   7   contractors were getting the new post office ready for business. Id. ¶ 15. He observed contractors

                                   8   hanging a sign and transferring stencils to the window. Id. Carlson considered these preparations

                                   9   to open the new post office newsworthy and therefore took photographs and videos of these

                                  10   activities while standing in a parking lot of an adjacent shopping center. Id.; see also Carlson

                                  11   Reply, Docket No. 51 at 12 (―Plaintiff does not believe he was standing on defendant‘s property

                                  12   on January 11, 2015‖).
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                                  13           As Carlson was making a video recording, a ―woman inside the building, whom [Carlson]

                                  14   had encountered when [he] first arrived at the site, asked [him] why [he] was taking photographs.‖

                                  15   Id. ¶ 16. Carlson responded that he was taking photographs ―just for personal interest‖ and

                                  16   explained that he had ―never actually watched a post office being built.‖ Id. According to

                                  17   Carlson, the woman asked him for his name. Id. He further contends that after he provided his

                                  18   name, the woman said ―in a negative tone of voice, ‗That name sounds familiar‘‖ and then

                                  19   disappeared from view inside the building. Id. 2

                                  20          A few minutes later, another woman approached Carlson from behind, held a cellular

                                  21   phone ―not more than two or three feet from [his] face,‖ and said, ―Smile.‖ Id. ¶ 17. According to

                                  22   Carlson, after she took at least one photograph of him, the woman walked into the post office and

                                  23   started talking with the woman who had first spoken to Carlson. Id. Carlson states in his

                                  24

                                  25   2
                                         According to Claire Cormier, who represents the Postal Service in this action, she has reviewed
                                  26   the two videos taken by Carlson that day and while some ―interaction with a postal employee‖ can
                                       be heard, neither video includes the part of the exchange where Carlson was asked his name and
                                  27   the employee said that his name sounded familiar. See Supplemental Declaration of Claire
                                       Cormier (―Cormier Supp. Decl.‖) ¶ 3. At oral argument, however, the Postal Service stipulated
                                  28   that it does not dispute that the conversation described by Carlson took place. Carlson, in turn,
                                       explained that by the time this conversation occurred he had already stopped videotaping.
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                                   1   declaration that he saw that the individual who had photographed him was carrying a plastic card

                                   2   that he believed was an identification badge. Id. The badge was mostly white but Carlson states

                                   3   that he could see ―United States of America‖ in small letters. Id. He further states that the

                                   4   woman who photographed him did not ask him his name but that enough time had passed from the

                                   5   time the woman inside had asked Carlson his name for that individual to call the person who took

                                   6   pictures of him and tell the photographer his name. Id.

                                   7          According to Carlson, immediately after the woman stopped photographing him, he left

                                   8   the post office, fearing that the photographer was a postal inspector ―and the Postal Service

                                   9   planned to open a criminal investigation of or prosecution against [him] for violating an unknown

                                  10   law or regulation or for another reasons.‖ Third Declaration of Douglas Carlson (―Carlson Reply

                                  11   Decl.‖) ¶ 2.

                                  12          Carlson sent some of the photographs that he had taken of the East Santa Cruz Station to
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                                  13   Evan Kalish, who operates the Postlandia blog, and Kalish included them in his blog in a section

                                  14   entitled ―Under Construction.‖ Carlson Motion Decl. ¶ 23; Kalish Decl. ¶ 8. The post included

                                  15   ―before and after‖ pictures of the East Santa Cruz Station post office. Kalish Decl. ¶ 8. According

                                  16   to Carlson, the blog post included a link to Carlson‘s Flickr account, which ―counted over 160 of

                                  17   some photographs and each of two videos.‖ Carlson Motion Decl. ¶ 23.

                                  18          C.      Carlson’s Efforts to Obtain Information about the Santa Cruz Incident
                                  19          The next day, on January 12, 2015, Carlson returned to the East Santa Cruz Station to look

                                  20   for the two women involved in the incident described above (―Incident‖ or ―Santa Cruz Incident‖)

                                  21   and identify them. Id. ¶ 18. Carlson did not see the women, and so he contacted a supervisor,

                                  22   Tung Tran, who informed Carlson that the women would have come from the main Santa Cruz

                                  23   post office. Id. According to Carlson, Tran refused to provide him with the name of any

                                  24   supervisors or managers of customer service at the Santa Cruz post office. Id.

                                  25          On January 13, 2015, Carlson called the Santa Cruz post office and talked to officer-in-

                                  26   charge Jae An, who told Carlson that he was ―unfamiliar with the incident‖ and that none of his

                                  27   staff had been at the East Santa Cruz Station on January 11, 2015. Id. ¶ 19. He told Carlson and

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                                   1   that the person he had seen inside the post office might have been an independent contractor.3 Id.

                                   2           On January 14, 2015, Carlson sent an email to Claire T. Cormier, who was representing the

                                   3   Postal Service in a FOIA case unrelated to the present matter (hereinafter, the ―6017 Case‖), to

                                   4   seek assistance in identifying the individuals involved in the Incident. Declaration of Claire T.

                                   5   Cormier, Docket No. 40-3 (―Cormier Motion Decl.‖) ¶ 3 & Ex. A; see also Carlson v. United

                                   6   States Postal Service, no. 13-cv-6017-JSC, 2015 WL 9258072, *1 (N.D. Cal. Dec. 18, 2015).

                                   7   Carlson and Cormier were scheduled to meet two days later at a settlement conference in an

                                   8   unrelated FOIA case against the Postal Service. Id. Ex. A. In the email, Carlson stated that ―[a]

                                   9   resolution of this question may assist settlement discussions on Friday.‖ Id. After describing the

                                  10   Incident, Carlson stated that he wanted to know the name and title of both the woman inside the

                                  11   post office who had asked him his name and the woman who took his photograph. Id. Regarding

                                  12   the woman who had photographed him, Carlson explained that ―[a]lthough her conduct was legal,
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                                  13   [he] wish[ed] to complain to an appropriate party in the Postal Service about her actions, which

                                  14   were confrontational and intimidating toward a member of the public who was engaged in a legal,

                                  15   constitutionally protected activity.‖ Id.

                                  16           The parties attended the January 16, 2015 settlement conference. Carlson Motion Decl.

                                  17   ¶ 21. According to Carlson, at the settlement conference, attorneys Sara Snyder and Jeremy

                                  18   Watson discussed the Incident with Carlson but did not disclose the identities of the individuals

                                  19   involved in it. Id. 4

                                  20           On January 21, 2015, Carlson submitted a FOIA request to the Postal Service (―First FOIA

                                  21   Request‖) asking that the Postal Service to ―provide all photographs that a postal employee took of

                                  22   [him] on Sunday, January 11, 2015 . . . and all records related thereto, including . . . any . . .

                                  23   records that will identify the name of the person who uses the device(s) that photographed me.‖

                                  24

                                  25   3
                                         At oral argument, the Postal Service stipulated that the two individuals involved in the Incident
                                  26   were, in fact, Postal Service employees rather than independent contractors.
                                       4
                                         The Postal Service objects to Carlson‘s disclosure of information about the parties‘ settlement
                                  27   discussions, which are confidential under ADR local Rule 7-4. See Postal Service Opposition,
                                       Docket No. 43, at 15. At oral argument, however, the Postal Service stipulated that it does not
                                  28   object to the disclosure of the fact that Snyder and Watson discussed Carlson‘s request at the
                                       settlement conference but did not disclose the identities of the individuals involved in the Incident.
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                                   1   Declaration of Sheela A. Portonovo (―Portonovo Motion Decl.‖), Ex. A (―First FOIA Request‖).

                                   2   Carlson stated in his letter that Postal Service attorneys Sara Snyder and Jeremy Watson knew the

                                   3   identities of the individuals involved in the Incident and therefore, that the Postal Service should

                                   4   contact these individuals for further information to start the search for records. Id.5

                                   5          On January 24, 2015, Carlson submitted a request for assistances to the Postal Regulatory

                                   6   Commission (―PRC‖). Carlson Motion Decl. ¶ 22. According to Carlson, ―the PRC declined to

                                   7   assist and instead forwarded [his] request to the Postal Service‘s Office of the Inspector General

                                   8   (OIG).‖ Id. According to Carlson, he ―did not receive any further response from the Postal

                                   9   Service, the PRC, or the OIG‖ and that he learned through a FOIA request that the OIG

                                  10   ―forwarded [his] inquiry to Kim Wu, the manager of Consumer and Industry Affairs for the Postal

                                  11   Service‘s San Francisco District.‖ Id. Mr. Wu did not respond to his inquiry. Id.

                                  12          Carlson submitted another FOIA request to the Postal Service on May 4, 2015 (―Second
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                                  13   FOIA Request‖). Portonovo Motion Decl. ¶ 4 & Ex. B. In this request, Carlson asked for ―all

                                  14   records, including e-mail messages, that employees in, or supporting, a FOIA Requester Service

                                  15   Center created or received relating to [his First FOIA Request] . . . .‖ Id. In addition, between

                                  16   July 20, 2015 and May 7, 2016, Carlson submitted six additional FOIA requests seeking

                                  17   information that would help him to uncover the identities of the individuals involved in the

                                  18   Incident. Castorina Motion Decl. ¶ 7 & Exs. B-G.

                                  19          Carlson states in his declaration that on December 2, 2016, he called the Postal Service‘s

                                  20   800-ASK-USPS customer service line ―to inquire about the procedure to complain about a postal

                                  21   employee.‖ Id. ¶ 24. He ―determined that the Postal Service asks a customer for the name of the

                                  22   employee‖ when a complaint is taken. Id. According to Carlson, the ―representative told [him]

                                  23   that customers have a right to ask employees for their name and, also, employees should be

                                  24   wearing identification.‖ Id. Carlson also has submitted a copy of the form used by customer

                                  25   service agents who take calls on the 800-ASK-UPS line, which he obtained through a separate

                                  26   FOIA request, showing that there is a space for the name of the employee who is the subject of the

                                  27
                                       5
                                  28     At oral argument, the Postal Service confirmed that Snyder and Watson knew the identities of
                                       the individuals involved at this point.
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                                   1   complaint. Carlson Opposition Decl. ¶ 6 & Appendix 3.

                                   2              The Postal Service, in turn, offers evidence that complaints will be accepted by Postal

                                   3   Service customer service agents even if a customer does not know the name of the employee

                                   4   whose conduct is the basis of the complaint. See Declaration of Debbie Judy (―Judy Opposition

                                   5   Decl.‖) ¶ 4. It also contends that these agents are not qualified to opine on whether an employee is

                                   6   obligated to provide his or her name in response to a customer‘s request and therefore, that any

                                   7   opinions expressed on this subject by customer service agents to Carlson should be disregarded.

                                   8   Id. ¶ 5.

                                   9              D.   The Postal Service’s Internal Investigation of the Santa Cruz Incident and
                                                       Efforts to Respond to the FOIA Requests
                                  10
                                                  In the meantime, evidence submitted by the Postal Service in connection with the Motions
                                  11
                                       reflects that when Cormier received the January 14, 2015 email from Carlson asking her to
                                  12
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                                       investigate the Incident, she forwarded it to Postal Service attorneys Sheela A. Portonovo, Sara K.
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                                  13
                                       Snyder, Jeremy M. Watson, and Matthew J. Connolly. Cormier Motion Decl. ¶ 3 & Ex. A.
                                  14
                                       According to Portonovo, attorneys Snyder and Watson ―informally investigated the incident and
                                  15
                                       copied [Portonovo] on emails describing the results of their investigation.‖ Portonovo Motion
                                  16
                                       Decl. ¶ 5.
                                  17
                                                  Snyder states in her declaration that she ―inquired with certain individuals who were
                                  18
                                       considered likely to have information about this incident, either because of their direct
                                  19
                                       involvement in the incident or because, by virtue of their positions, [they] may have received
                                  20
                                       information about the incident in the ordinary course of business.‖ Declaration of Sara Snyder,
                                  21
                                       Docket No. 40-7 (―Snyder Motion Decl.‖) ¶ 6. The Court presumes that a reasonable
                                  22
                                       investigation would have included the officer-in charge of the Santa Cruz post office, Jae An,
                                  23
                                       though the Postal Service has not confirmed or denied that he was contacted by Snyder or Watson.
                                  24
                                       The Postal Service did stipulate at oral argument, however, that Snyder and Watson learned the
                                  25
                                       identities of the two Postal Service employees involved in the Incident within a day or two of
                                  26
                                       initiating their investigation and talked to them about the Incident. Based on those conversations,
                                  27
                                       they determined that the individual who photographed Carlson did not use a phone issued by the
                                  28
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                                   1   Postal Service to take or store the photograph, or to send or receive any text messages containing

                                   2   or related to the photograph. Id. ¶ 7. They also concluded that the photograph was not transmitted

                                   3   through the Postal Service‘s email network. Id.

                                   4           On February 25, 2015, Postal Service attorney Portonovo began a search for records that

                                   5   were responsive to the First FOIA Request. Portonovo Decl. ¶ 7. Having concluded that ―any

                                   6   responsive records pertaining to the incident were likely to have been generated during the course

                                   7   of the informal investigation and memorialized in email messages,‖ she contacted the Postal

                                   8   Service‘s Information Catalog Program (ICP), which conducts searches of the Postal Service‘s

                                   9   email archives in connection with FOIA requests. Id. ¶ 6-7. She instructed ICP to run a search

                                  10   using search terms ―Carlson,‖ ―Santa Cruz,‖ ―Photograph,‖ Picture,‖ or ―Photo.‖ Id. ¶ 7. On

                                  11   March 2, 2015, ICP reported to Portonovo that this search had turned up 31,208 potentially

                                  12   responsive documents and that the search had been completed. Id.
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                                  13           Concluding that the search was too broadly framed, Portonovo obtained from Snyder a list

                                  14   of individuals who might have responsive records, consisting of Snyder, Watson, and eight

                                  15   individuals Snyder and Watson had interviewed when they conducted the informal investigation.

                                  16   Id. ¶ 8. Portonovo called each person on this list to ask whether any of them had records, in any

                                  17   format, identifying the individual who photographed Mr. Carlson. Id. According to Portonovo,

                                  18   all of them told her that if they had any responsive documents they would be in the form of email

                                  19   communications. Id. Portonovo therefore asked ICP to conduct another search on March 5, 2015,

                                  20   using the same search terms but limiting the search to emails that had been sent or received by the

                                  21   ten individuals on the list. Id.

                                  22           On March 6, 2015, ICP sent Portonovo the results of this search: 149 potentially

                                  23   responsive emails sent by the individuals on the list and 305 emails received by them. Id. ¶ 9. At

                                  24   this point, Portonovo states, she re-read the First FOIA Request and realized that it focused on the

                                  25   identity of the photographer. Id. Consequently, she sent a third request to ICP on March 25, 2015

                                  26   asking it to add the name of the photographer among the search terms. Id. This search turned up

                                  27   34 potentially responsive emails sent by the employees on the list, and 58 potentially responsive

                                  28   emails received by those employees. Id. Portonovo requested that IPC retrieve these records, but
                                                                                         8
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                                   1   neither she nor anyone else at the Postal Service reviewed the documents or responded to

                                   2   Carlson‘s First FOIA Request in 2015. Id. Portonovo states that ―[u]nfortunately, due to

                                   3   competing priorities and limited resources, review of the emails was delayed.‖ Id.

                                   4          On December 24, 2015, Carlson filed the Complaint in this case. Shortly thereafter, in

                                   5   January 2016, the Postal Service resumed its efforts to find responsive records. Id. ¶ 10. Because

                                   6   the better part of a year had passed since the previous search had been performed, Portonovo sent

                                   7   another request to ICP, using essentially the same search terms as she used in her last search

                                   8   except that: 1) she added her own name and the names of eight other attorneys who ―were

                                   9   informed about the incident‖; and 2) she entered the first and last name of the photographer as

                                  10   separate search terms. Id. Again, Portonovo confirmed with the individuals who were added to

                                  11   the list that any responsive records would be in the form of emails. Id. The search yielded more

                                  12   than 1,893 records. Portonovo states that she reviewed all of these documents manually to
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                                  13   determine which ones were responsive. Id.

                                  14          With respect to the Second FOIA Request, which sought records about the First FOIA

                                  15   Request, Portonovo reasoned that all responsive records would be found on her own workstation

                                  16   because she had conducted the search for documents responsive to the First FOIA Request. Id. ¶

                                  17   11. Accordingly, she conducted a search of the emails stored on her own computer for the Second

                                  18   FOIA Request. Id.

                                  19          All in all, Portonovo identified 58 pages of records she found to be responsive to the First

                                  20   FOIA Request and 102 pages of records responsive to the Second FOIA Request. Id. ¶ 12. The

                                  21   Postal Service turned over to Carlson, in whole or in part, 57 of the 58 pages that were responsive

                                  22   to the First FOIA Request with a March 31, 2016 response letter. Portonovo Motion Decl., Ex. C

                                  23   (―First FOIA Request Response Letter‖). In that letter, the Postal Service explained that it had

                                  24   withheld information pursuant to FOIA Exemptions 5 and 6. Id.

                                  25          The Postal Service released, in whole or in part, all of the 102 pages that were responsive

                                  26   to the Second FOIA Request with a separate response letter, also dated March 31, 2016. Id., Ex.

                                  27   D (―Second FOIA Request Response Letter‖). In that response letter, the Postal Service explained

                                  28   that it had withheld information pursuant to FOIA Exemptions 3, 5, and 6.
                                                                                        9
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                                   1          Where the Postal Service produced a document with redactions, it made notations on the

                                   2   document stating the FOIA exemption it claimed justified the redaction. See Cormier Motion

                                   3   Decl. ¶ 5; Second Declaration of Douglas F. Carlson (―Carlson Opposition Decl.‖), Appendix 1 &

                                   4   2 (reflecting notations made by Postal Service showing claimed exemptions). According to

                                   5   Cormier, at some point it was determined by the Postal Service that the notations were incomplete

                                   6   and therefore, on December 16, 2016, Cormier emailed a revised version of the responsive

                                   7   documents with more complete notations. Cormier Motion Decl. ¶ 5. She states that the

                                   8   exemptions claimed remained the same as those noted in the March 31, 2016 response letters. Id.

                                   9          E.    The Sutanto Letter
                                  10          In support of its Opposition to Carlson‘s motion for summary judgment, the Postal Service

                                  11   offers the declaration of Ferdinand Sutanto. Declaration of Ferdinand Sutanto, Docket No. 43-6

                                  12   (―Sutanto Decl.‖) ¶ 2. Sutanto, who is currently a General Analyst with the Postal Inspection
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                                  13   Service, states that he served ―for a short period of time in March 2015‖ ―in an acting capacity as

                                  14   the Consumer and Industry Contact Manager for the Bay Valley District.‖ Id.       In that capacity,

                                  15   he states, he was ―responsible for overseeing the process of responding to customer complaints

                                  16   and inquiries in the Postal Service‘s Bay Valley District.‖ Id. ¶ 3.

                                  17          According to Sutanto, on March 9, 2015, he responded by letter to an inquiry by Carlson

                                  18   addressed to the Postal Regulatory Commission that was forwarded to Sutanto‘s ―office.‖6 Id. In

                                  19   the letter, Sutanto stated that he was responding to Carlson‘s inquiry regarding ―service and

                                  20   unprofessional personnel at the East Santa Cruz Post Office on January 11, 2015.‖ Sutanto Decl.,

                                  21   Ex. A (―Sutanto Letter‖). Sutanto stated that he wanted to ―personally apologize on behalf of the

                                  22   Postal Service‖ and further stated, ―[w]e regret this experience, which does not reflect our high

                                  23   standards of service.‖ Id.   He went on to state that Carlson‘s ―concerns were brought to the

                                  24   attention of the Santa Cruz Officer-in-Charge, Jae An, who oversees the East Santa Cruz Station,

                                  25   for further research and corrective action.‖ Id. According to Sutanto, ―Mr. An could not identify

                                  26
                                       6
                                  27     As noted above, Carlson states in a declaration that on January 24, 2015, he submitted a request
                                       for assistances to the Postal Regulatory Commission (―PRC‖). Carlson Motion Decl. ¶ 22.
                                  28   Presumably, the request that was forwarded to Sutanto was the request Carlson sent on January 24,
                                       2015.
                                                                                        10
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                                   1   the personnel [Carlson] implied in [his] letter‖ and ―request[ed] more descriptive information on

                                   2   the female individual you had the encounter with to assist with identifying and addressing the

                                   3   behavior.‖7 Id. Sutanto also stated that the ―personnel at the East Santa Cruz Post Office were

                                   4   reminded to be courteous and professional whenever interacting with the public‖ and that he was

                                   5   ―confident that the actions taken by Management at the East Santa Cruz [Post Office] should

                                   6   eliminate any issues regarding service and employee behavior.‖ Id. At the end of the letter, below

                                   7   Sutanto‘s signature, two reference numbers were listed: 1) OIG 150209HER065; and 2)

                                   8   CA121622603. Id. The first number matches a ―Hotline Case Number‖ referenced in a document

                                   9   produced to Carlson by the Postal Service (with redactions), specifically, an email from Jeremy

                                  10   Watson to Sheela Portonovo dated February 11, 2015. Carlson Opposition Decl., Appendix 2.

                                  11          Carlson states in a declaration filed in support of his Reply brief that he did not receive the

                                  12   Sutanto Letter, which he saw for the first time when it was filed as an exhibit in this case. Third
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                                  13   Declaration of Douglas F. Carlson, Docket No. 53 (―Carlson Reply Decl.‖) ¶ 1. The Postal

                                  14   Service does not dispute that this letter was not included in its FOIA responses.

                                  15          F.    The Vaughn Index
                                  16          In support of its summary judgment motion, the Postal Service provided a Vaughn index.

                                  17   See Castorina Motion Decl., Ex. A. A Vaughn index is supposed to identify each responsive

                                  18   document that is withheld, list the statutory exemption(s) claimed, and provide a particularized

                                  19   explanation of how disclosure of the particular document would damage the interest protected by

                                  20   the claimed exemption. Wiener v. F.B.I., 943 F.2d 972, 977 (9th Cir. 1991). In general, courts

                                  21   require government agencies in FOIA cases to provide such an index where documents (or

                                  22   portions of documents) are withheld in order to address the ―lack of knowledge by the party

                                  23   seeking disclosure,‖ which ―‗seriously distorts the traditional adversary nature of our legal

                                  24   system[ ].‘‖ Wiener v. F.B.I., 943 F.2d 972, 977 (9th Cir. 1991) (quoting Vaughn v. Rosen, 484

                                  25   F.2d 820, 823-25 (D.C. Cir. 1973)). The Ninth Circuit has held, however, that where ―a FOIA

                                  26
                                  27   7
                                         As noted above, it is undisputed that at this point, Postal Service attorneys Watson and Snyder
                                  28   were already aware of the identities of the individuals involved, having conducted an internal
                                       investigation that likely would have included Mr. An.
                                                                                          11
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                                   1   requester has sufficient information to present a full legal argument, there is no need for a Vaughn

                                   2   index.‖ Minier v. Central Intelligence Agency, 88 F.3d 796, 804 (9th Cir. 1996) (citing Wiener,

                                   3   943 F.2d at 978 n. 5).

                                   4           Where a Vaughn index is required, ―[s]pecificity is the defining requirement.‖ Wiener, 943

                                   5   F.2d at 979 (internal quotation and citation omitted). Boilerplate explanations of the exemptions

                                   6   claimed that are not tailored to specific documents or redactions are not sufficient. Id. at 978-979.

                                   7   Likewise, claiming several exemptions without identify the specific withheld content to which

                                   8   each claimed exemption applies is not adequate unless each of the exemptions is applicable to all

                                   9   of the withheld content identified. Id. at 979. Further, while courts may conduct an in camera

                                  10   review of documents withheld under the various FOIA exemptions to resolve FOIA cases, the

                                  11   Ninth Circuit has cautioned that such a review is not appropriate unless it is not possible to resolve

                                  12   the disputed issues through the provision of a more detailed Vaughn index. Id.
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                                  13           The Vaughn index submitted in this case consists of 29 separate entries identified as

                                  14   documents 1-1 to 1-29 (the documents that are responsive to the First FOIA Request) and another

                                  15   26 entries identified as documents 2-1 to 2-26 (the documents that are responsive to the Second

                                  16   FOIA Request).8 As to the documents that were produced with redactions, the exemptions

                                  17   claimed for specific content are also identified in notations on the documents themselves next to

                                  18   the redactions. See Douglas Opposition Decl., Appendix 2 (sample documents produced by the

                                  19   Postal Service in response to Carlson‘s FOIA requests). The exemptions claimed in the Vaughn

                                  20   index are described in the accompanying declaration of Janine Castorina, who is the Chief Privacy

                                  21   and Records Management Officer for the United States Postal Service. Castorina Motion Decl. ¶

                                  22   2.

                                  23           Castorina states that the Postal Service found 161 pages of emails and attachments that

                                  24   were responsive to Carlson‘s FOIA requests. Id. ¶ 5. With respect to the FOIA Exemption 5

                                  25   redactions, she states that they are based on attorney-client privilege, the attorney work product

                                  26   privilege, and the deliberative process privilege. Id. ¶ 9. In connection with this exemption, she

                                  27
                                       8
                                  28    At oral argument, the Postal Service confirmed that no documents were withheld in their
                                       entirety.
                                                                                      12
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                                   1   states generally in her declaration that ―[a]fter learning of Plaintiff‘s informal complaint, Deputy

                                   2   Managing Counsel Sara Snyder, Attorney Jeremy Watson, Attorney Sheela Portonovo, and then-

                                   3   Chief Privacy Officer Matthew Connolly began an investigation into the matter in anticipation of

                                   4   future litigation.‖ Id. ¶ 8. She further states that ―[t]he emails responsive to Plaintiff‘s FOIA

                                   5   requests were all generated following Plaintiff‘s informal complaint as part of the investigation

                                   6   into the informal complaint and as part of the efforts to respond to Plaintiff‘s FOIA requests.‖ Id.

                                   7          Castorina describes the information redacted under Exemption 5 as falling into four

                                   8   categories:
                                                          (1) facts divulged by Postal Service employees to Postal Service
                                   9                      attorneys, (2) communications from Postal Service attorneys to
                                                          Postal Service employees seeking information, providing
                                  10                      instruction, or giving opinions about the matter, (3)
                                                          communications among Postal Service attorneys analyzing and
                                  11                      discussing client-shared information, and (4) information
                                                          identifying higher ranking Postal Service Law Department
                                  12                      personnel.
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                                  13   Id. ¶ 10. She contends the first three categories fall with ―the most basic definitions attorney-

                                  14   client and attorney work-product privileges‖ because ―[t]hese intra-agency communications

                                  15   between and among attorneys and Postal Service employees in the course of an investigation of a

                                  16   customer complaint of intimidation were made in anticipation of litigation, especially because the

                                  17   Postal Service was already engaged in litigation with Plaintiff at the time.‖ Id. ¶ 11. She further

                                  18   states that the information in the fourth category is subject to attorney-client privilege and attorney

                                  19   work-product protection because ―disclosure of the names and titles of these individuals would

                                  20   reveal and subject to scrutiny the preparations, escalation, and decisions of the attorneys who were

                                  21   investigating Plaintiffs complaint.‖ Id. ¶ 12. In addition, she states, ―this information is protected

                                  22   by the deliberative process privilege, as the information reveals part of the Postal Service‘s

                                  23   decision making process by identifying the individuals who were involved and the extent to which

                                  24   the matter was escalated within the Postal Service.‖ Id.

                                  25          Castorina states that the ―information withheld by the Postal Service under Exemption 6 in

                                  26   the 161 pages of documents provided to Plaintiff includes the names, titles, and personal contact

                                  27   information of Postal Service employees that appear in the emails and spreadsheets responsive to

                                  28   Plaintiff‘s FOIA requests.‖ Id. ¶ 14. According to Castorina, this information is ―not made
                                                                                         13
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                                   1   publicly available by the Postal Service.‖ Id. ¶ 15. She further states that ―[t]he employees

                                   2   whose information was withheld are not retail employees and do not typically have interaction

                                   3   with the public.‖ Id. Castorina states that she is ―not aware of any public interest in the names,

                                   4   titles, and contact information the Postal Service has withheld under Exemption 6‖ and that ―[t]his

                                   5   information alone in no way sheds light on the Postal Service‘s performance of its statutory

                                   6   duties.‖ Id. ¶ 16.

                                   7          G.    The Complaint
                                   8          Carlson commenced this action on December 24, 2015, asserting three claims based on

                                   9   three separate FOIA requests. In his first and second claims (―Claim One‖ and ―Claim Two‖),

                                  10   Carlson alleged that he had submitted FOIA requests on January 21, 2015 and May 4, 2015 (the

                                  11   First and Second FOIA Requests), that he had timely mailed administrative appeals as to each of

                                  12   these requests, and that the Postal Service had produced no records in response to these requests,
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                                  13   in violation of FOIA. Carlson‘s third claim (―Claim Three‖) is based on a FOIA request that pre-

                                  14   dates the Incident, made on July 29, 2014 (―the Third FOIA Request‖). See Complaint ¶ 14 and

                                  15   July 29, 2014 request, attached thereto. The Complaint alleges that the Postal Service ―improperly

                                  16   withheld records that Plaintiff requested‖ in response to his Third FOIA Request. See Complaint ¶

                                  17   18. The parties stipulated in their March 24, 2016 Case Management Statement that ―[o]n

                                  18   February 26, 2016, the Postal Service sent a complete response to the third request. Plaintiff and

                                  19   the Postal Service agree that no further issues remain regarding plaintiff‘s third claim.‖ Therefore

                                  20   the Court dismisses Claim Three on the basis that it is moot. 9 Docket No. 13 at 2.

                                  21   III.   ANALYSIS
                                  22          A.    Legal Standard
                                  23                1. Overview of FOIA
                                  24          FOIA ―was enacted to facilitate public access to Government documents.‖ Lahr v. Nat’l

                                  25   Transp. Safety Bd., 569 F.3d 964, 973 (9th Cir. 2009) (internal quotation marks omitted).

                                  26
                                  27   9
                                        At oral argument, Carlson stipulated to the dismissal of Claim Three on the basis of mootness
                                  28   but preserved his argument that he should be considered the prevailing party as to that claim. As
                                       discussed below, the Court agrees.
                                                                                       14
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                                   1   Congress‘s intention in enacting FOIA was to ―ensure an informed citizenry, vital to the

                                   2   functioning of a democratic society, needed to check against corruption and to hold the governors

                                   3   accountable to the governed.‘‖ Id. (quoting John Doe Agency v. John Doe Corp., 493 U.S. 146,

                                   4   152 (1989) (internal quotation marks omitted)). Thus, FOIA ―provides public access to official

                                   5   information ‗shielded unnecessarily‘ from public view and establishes a ‗judicially enforceable

                                   6   public right to secure such information from possibly unwilling official hands.‘‖ Id. (quoting

                                   7   Dep’t of Air Force v. Rose, 425 U.S. 352, 361 (1976)).

                                   8          Under FOIA, ―each agency, upon any request for records which (i) reasonably describes

                                   9   such records and (ii) is made in accordance with published rules stating the time, place, fees (if

                                  10   any), and procedures to be followed, shall make the records promptly available to any person.‖

                                  11   5 U.S.C. § 552(a)(3)(A). There is a strong presumption in favor of disclosure. See U.S. Dep’t of

                                  12   State v. Ray, 502 U.S. 164, 173 (1991). Congress also recognized, however, that government
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                                  13   agencies can have legitimate reasons for withholding information from the public. Id. Hence,

                                  14   FOIA ―requires federal agencies to make Government records available to the public, subject to

                                  15   nine exemptions for specific categories of material.‖ Milner v. Dep’t of the Navy, 562 U.S. 562,

                                  16   564 (2011). The nine exemptions are ―explicitly made exclusive and must be narrowly

                                  17   construed.‖ Id. at 565.

                                  18          A FOIA requester who is dissatisfied with the response of a government agency may bring

                                  19   an action in federal district court asking the court to ―enjoin the agency from withholding agency

                                  20   records and to order the production of any agency records improperly withheld from the

                                  21   complainant.‖ 5 U.S.C. § 552(a)(4)(B). Section 552(a)(4)(B) further provides that ―[i]n such a

                                  22   case the court shall determine the matter de novo, and may examine the contents of such agency

                                  23   records in camera to determine whether such records or any part thereof shall be withheld under

                                  24   any of the exemptions set forth in subsection (b) of this section [listing FOIA exemptions], and the

                                  25   burden is on the agency to sustain its action.‖ Id.; see also Light v. Dep’t of Justice, 968 F. Supp.

                                  26   2d 11, 23 (D.D.C. 2013) (to prevail in a FOIA action, the agency ―must show that its search for

                                  27   responsive records was adequate, that any claimed exemptions actually apply, and that any

                                  28   reasonably segregable, non-exempt parts of records have been disclosed after redaction of exempt
                                                                                        15
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                                   1   information‖). ―Affidavits submitted by an agency to demonstrate the adequacy of its response

                                   2   are presumed to be in good faith.‖ Hamdan v. U.S. Dep’t of Justice, 797 F.3d 759, 770 (9th Cir.

                                   3   2015). This presumption may be overcome, however, where the court finds that the requester has

                                   4   made a ―meaningful evidentiary showing‖ of government misconduct. Id. at 772 (citing Nat’l

                                   5   Archives & Records Admin. v. Favish, 541 U.S. 157, 175 (2004)).

                                   6                2. Rule 56
                                   7          Pursuant to Rule 56 of the Federal Rules of Civil Procedure, the Court may grant summary

                                   8   judgment where the moving party ―shows that there is no genuine dispute as to any material fact

                                   9   and the movant is entitled to judgment as a matter of law.‖ Fed. R. Civ. P. 56(a); see also Celotex

                                  10   Corp. v. Catrett, 477 U.S. 317, 322 (1986). The moving party bears the initial burden of

                                  11   demonstrating the absence of a genuine issue of material fact. Celotex Corp., 477 U.S. at 323. If

                                  12   the moving party meets that burden, the party opposing summary judgment must establish that
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                                  13   there are ―specific facts showing that there is a genuine issue for trial.‖ Id. In this context, the

                                  14   Court draws all reasonable factual inferences in favor of the nonmoving party. Scott v. Harris,

                                  15   550 U.S. 372, 378 (2007).

                                  16          FOIA cases are often decided on motions for summary judgment because the facts are

                                  17   rarely in dispute. See Minier v. Cent. Intelligence Agency, 88 F.3d 796, 800 (9th Cir. 1996).

                                  18   While courts have discretion to permit discovery in FOIA cases, discovery in such cases is limited

                                  19   ―because the underlying case revolves around the propriety of revealing certain documents.‖ Lane

                                  20   v. Dep't of Interior, 523 F.3d 1128, 1134 (9th Cir. 2008). Consequently, ―courts routinely delay

                                  21   discovery until after summary judgment in [FOIA cases] . . . and [the Ninth Circuit] has affirmed

                                  22   denials of discovery where . . . the plaintiff‘s requests consisted of ‗precisely what defendants

                                  23   maintain is exempt from disclosure to plaintiff pursuant to the FOIA.‘‖ Id. at 1134–35 (quoting

                                  24   Pollard v. FBI, 705 F.2d 1151, 1154 (9th Cir.1983) and citing Miscavige v. I.R.S., 2 F.3d 366, 369

                                  25   (11th Cir. 1993); Nolan v. U.S. Dep’t of Justice, 973 F.2d 843, 848 (10th Cir. 1992); Simmons v.

                                  26   U.S. Dep’t of Justice, 796 F.2d 709, 711-712 (4th Cir. 1986)). As the court in Simmons explained,

                                  27   ―[a]ttempting to alleviate this problem, Congress provided in the FOIA that courts should make a

                                  28   de novo review of any claimed exemption by an agency, . . . review documents in camera if
                                                                                          16
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                                   1   necessary, . . . and release any reasonably segregable non-exempt portion of a document that an

                                   2   agency claims is exempt.‖ 796 F.2d at 710-711 (citing 5 U.S.C. § 552(b)). In addition, courts

                                   3   ―have added to these safeguards by requiring agencies to submit affidavits, along with redacted

                                   4   documents, which explain claimed exemptions.‖ Id. at 711; see also Pac. Fisheries, Inc. v.

                                   5   United States, 539 F.3d 1143, 1150 (9th Cir. 2008) (remanding action to district court to make

                                   6   factual findings relating to exemptions and instructing that ―[i]n order to assist the district court,

                                   7   the [government agency] should submit affidavits describing in more detail the withheld portions

                                   8   of these documents so that both the district court and [the FOIA requester] can evaluate the

                                   9   government‘s claims of exemption.‖).

                                  10          Although most FOIA cases can be decided on summary judgment, the Ninth Circuit has

                                  11   recognized that ―some FOIA cases require resolution of disputed facts.‖ Animal Legal Def. Fund

                                  12   v. U.S. Food & Drug Admin., 836 F.3d 987, 989 (9th Cir. 2016) (citing GC Micro Corp. v. Def.
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                                  13   Logistics Agency, 33 F.3d 1109, 1110 (9th Cir. 1994) as an example of a case in which the

                                  14   applicability of FOIA exemption required ―a factual determination of substantial competitive

                                  15   harm‖). ―[I]if there are genuine issues of material fact in a FOIA case, the district court should

                                  16   proceed to a bench trial or adversary hearing.‖ Id. at 990. The Ninth Circuit has made clear that

                                  17   even in FOIA cases, ―[r]esolution of factual disputes should be through the usual crucible of bench

                                  18   trial or hearing, with evidence subject to scrutiny and witnesses subject to cross-examination.‖ Id.

                                  19   Following such a bench trial, the district court issues findings of fact and conclusions of law

                                  20   pursuant to Rule 52(a)(1) of the Federal Rules of Civil Procedure. Id.

                                  21          B.    Sufficiency of the Records Search
                                  22          In his summary judgment motion, Carlson stated that he ―generally is not challenging the

                                  23   scope of the [Postal Service] searches‖ but that ―one key record generated during the FOIA search

                                  24   for records, a report of the search of email records, including search terms, appears only in an

                                  25   email message from a computer technician to defendant‘s attorney.‖ Plaintiff‘s Motion at 22.

                                  26   According to Carlson, ―records of the search should exist independently, aside from in an email

                                  27   message to an attorney.‖ Id. In this respect, he argued that ―Defendants cannot search only one

                                  28   record system if others are likely to produce responsive records.‖ Id. (citing Ogelsby v. U.S. Dep’t
                                                                                          17
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                                   1   of the Army, 920 F.2d 57, 68 (D.C. Cir. 1990)).

                                   2          At oral argument, Carlson agreed to drop this challenge, stipulating that he does not

                                   3   challenge the adequacy of the Postal Service‘s search. Therefore, the Court need not reach this

                                   4   argument.

                                   5          C.    Exemption 5
                                   6                1. Background
                                   7          The Postal Service contends that ―the vast majority of the information [it has] withheld

                                   8   falls under Exemption 5.‖ Postal Service Motion at 9. Exemption 5 provides that FOIA ―does not

                                   9   apply to . . . inter-agency or intra-agency memorandums or letters that would not be available by

                                  10   law to a party other than an agency in litigation with the agency . . . .‖ 5 U.S.C. § 552(b)(5).

                                  11   Exemption 5 ―entitles an agency to withhold from the public ‗documents which a private party

                                  12   could not discover in litigation with the agency‘‖ and thus ―covers the attorney-client privilege,
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                                  13   the attorney work-product privilege, and the executive ‗deliberative process‘ privilege.‖ Maricopa

                                  14   Audubon Soc. v. U.S. Forest Serv., 108 F.3d 1089, 1092 (9th Cir. 1997) (quoting NLRB v. Sears,

                                  15   Roebuck & Co., 421 U.S. 132, 148 (1975)) and citing Coastal States Gas Corp. v. Department of

                                  16   Energy, 617 F.2d 854, 862 (D.C.Cir.1980)). The Postal Service invokes Exemption 5 under all

                                  17   three doctrines in this case, arguing that most of the responsive documents ―would not have

                                  18   existed but for Plaintiff‘s initial inquiry to the Postal Service‘s attorney about the Santa Cruz

                                  19   Incident‖ in his January 14, 2015 email to Cormier prior to the settlement conference that was set

                                  20   to occur two days later in a separate FOIA case. Postal Service Motion at 9.

                                  21          First, the Postal Service contends that categories one through three of documents described

                                  22   in the Castorina Motion Declaration ―fall[] squarely within the work product doctrine.‖ Id. at 10;

                                  23   see also Castorina Motion Decl. ¶ 10. These categories are: ―(1) facts divulged by Postal Service

                                  24   employees to Postal Service attorneys, (2) communications from Postal Service attorneys to Postal

                                  25   Service employees seeking information, providing instruction, or giving opinions about the matter,

                                  26   [and] (3) communications among Postal Service attorneys analyzing and discussing client-shared

                                  27   information. Castorina Motion Decl. ¶ 10. According to the Postal Service, ―[t]he information

                                  28   obtained in categories 1, 2, and 3 deal with questions posed by attorneys, statements given by
                                                                                         18
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                                   1   employees, mental impressions, legal strategy, and conclusions based on what was obtained from

                                   2   the informal investigation.‖ Id. 10

                                   3           The Postal Service further contends that all of these documents were generated in

                                   4   anticipation of litigation even though Carlson ―did not claim he would file a lawsuit‖ in his

                                   5   January 14, 2015 email to Cormier. Id. at 11. In particular, the Postal Service contends it

                                   6   generated these documents in anticipation of litigation because: 1) they were created in response to

                                   7   an inquiry Carlson made in connection with pending litigation in a separate FOIA case; and 2)

                                   8   Carlson had filed FOIA lawsuits against the Postal Service in the past. Id. at 11. Therefore, the

                                   9   Postal Service contends, the documents that fall within categories one through three described in

                                  10   the Castorina Motion Declaration are protected as work product.

                                  11            Next, the Postal Services argues that ―[w]hile virtually all of the withheld documents are

                                  12   work product, many are also attorney-client communications.‖ Id. at 12. In particular, the Postal
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                                  13   Service represents that ―[t]he redacted Count 1 emails include discussions between Postal

                                  14   attorneys and the Postal employees involved in or knowledgeable about the Santa Cruz Incident.‖

                                  15   Id. (citing Castorina Motion Decl. ¶¶ 4, 5, 8-12 and Ex. A). According to the Postal Service, these

                                  16   records were part of the investigation of the Santa Cruz Incident conducted by the Postal Service‘s

                                  17   attorneys and the information contained in them has been kept confidential. Id. (citing Portonovo

                                  18   Motion Decl. ¶ 5; Connolly Motion Decl. ¶ 10). Therefore, the documents are protected by

                                  19   attorney-client privilege, the Postal Service asserts. Id.

                                  20           In addition, the Postal Service claims that ―many of the Count 2 documents were emails

                                  21   dealing with the search for the documents requested by Plaintiff‖ and these records contain advice

                                  22   by Postal Service attorneys ―for how to narrow the search and find the documents responsive to

                                  23   the request.‖ Id. (citing Portonovo Motion Decl. ¶¶ 6-12; Castorina Motion Decl. Ex. A). This

                                  24   advice ―included the names of people who were most likely to receive emails related to the Santa

                                  25   Cruz Incident.‖ Id. (citing Portonovo Motion Decl. ¶¶ 8-10). These documents also fall within

                                  26   the attorney-client privilege, the Postal Service argues. Id.

                                  27
                                       10
                                  28     As noted above, the fourth category is ―information identifying higher ranking Postal Service
                                       Law Department personnel.‖ Castorina Motion Decl. ¶ 10.
                                                                                       19
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                                   1           Finally, the Postal Service invokes the deliberative process privilege, stating that it ―made

                                   2   some redactions that reflected the level to which the Plaintiff‘s informal complaint was escalated

                                   3   within the law department.‖ Id. at 13 (citing Castorina Decl. ¶¶ 4, 10, and 12 & Ex. A and citing

                                   4   as examples documents 1-5 and 1-6).11 According to the Postal Service, ―[r]evealing this

                                   5   information would discourage candid communication within the law department, weakening the

                                   6   Postal Service‘s ability to address similar problems in the future.‖ Id.

                                   7           Carlson challenges the Postal Services Exemption 5 claims on numerous grounds. First,

                                   8   Carlson argues that Exemption 5 covers only documents that are ―normally‖ privileged in civil

                                   9   litigation and that all three doctrines invoked by the Postal Service are limited by the obligation to

                                  10   produce the names of witnesses and individuals likely to have discoverable information under

                                  11   Rule 26(a)(1)(A)(i) and Rule 26(a)(3)(A)(i) of the Federal Rules of Civil Procedure. Carlson

                                  12   Opposition at 1-2 (citing N. L. R. B. v. Sears, Roebuck & Co., 421 U.S. 132, 149 (1975); F.T.C. v.
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                                  13   Grolier Inc., 462 U.S. 19, 27 (1983)). Moreover, he asserts, FOIA itself expressly limits

                                  14   Exemption 5 to documents that can be withheld ―by law‖ and requires that segregable information

                                  15   must be produced. Id. at 3 (citing 5 U.S.C. § 552(b)(―Any reasonably segregable portion of a

                                  16   record shall be provided to any person requesting such record after deletion of the portions which

                                  17   are exempt under this subsection‖); Envtl. Prot. Agency v. Mink, 410 U.S. 73, 91 (1973)

                                  18
                                  19   11
                                          The parties have not provided the Court with copies of documents 1-5 and 1-6. The Vaughn
                                  20   index describes document 1-5 as an email from attorney Sara Snyder to attorney Daren Draves
                                       dated January 23, 2015, subject/title withheld. The ―Description of Withheld Information‖ for the
                                  21   document states: ―This document is an email from attorney Sara Snyder to Managing Counsel
                                       Daren Draves providing a summary and status update between attorneys regarding the
                                  22   investigation being conducted by the law department into Plaintiff‘s complaint related to his
                                       picture being taken by Postal Service employees. The summary details information gained during
                                  23   the investigation from attorney interviews of employees and legal analysis of potential future
                                       litigation. Portions are withheld pursuant to attorney-client privilege, the attorney work product
                                  24   doctrine, and to protect the privacy of individuals named in the email who witnessed and were
                                       involved in the incident. Names of law department staff are withheld as they demonstrate how the
                                  25   matter was escalated and deliberated upon.‖ Document 1-6 is described as an ―email chain‖
                                       between Draves and Snyder, subject/title withheld, dated January 23, 2015. The ―Description of
                                  26   Withheld Information‖ for the document states: ―This document is an email from Managing
                                       Counsel Daren Draves responding to email l-5 above from Attorney Sara Snyder. Portions are
                                  27   withheld pursuant to attorney-client privilege, the attorney work product doctrine, and to protect
                                       the privacy of individuals named in the email who witnessed and were involved in the incident.
                                  28   Names of law department staff are withheld as they demonstrate how the matter was escalated and
                                       deliberated upon.‖ Castorina Motion Decl., Ex. A.
                                                                                          20
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                                   1   (―Exemption 5 contemplates that the public‘s access to internal memoranda will be governed by

                                   2   the same flexible, common-sense approach that has long governed private parties‘ discovery of

                                   3   such documents involved in litigation with Government agencies‖ and that approach ―extend[s] to

                                   4   the discovery of purely factual material appearing in those documents in a form that is severable

                                   5   without compromising the private remainder of the documents.‖). Therefore, Carlson asserts, the

                                   6   names of the eight employees who were involved in the Incident or who were consulted about it

                                   7   and whose names were included in the Postal Service‘s search terms would be discoverable in

                                   8   civil litigation, putting this information outside of the ambit of Exemption 5. Id.

                                   9          Second, Carlson argues that work product protection does not extend to documents

                                  10   prepared in the ordinary course of business that were not created because of litigation and would

                                  11   have been created in essentially the same form regardless of the litigation. Id. at 3-4 (citing U.S. v.

                                  12   Textron Inc. and Subsidiaries, 577 F.3d 21, 30 (1st Cir. 2009); U.S. v. Richey, 632 F.3d 559, 568
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                                  13   (9th Cir. 2011)). Carlson concedes that any documents that were created before the January 16,

                                  14   2015 settlement conference in response to his email inquiry to Cormier likely were created

                                  15   because of that litigation (though he does not concede that the names contained in these

                                  16   documents fall within the work-product doctrine for the reasons discussed above). Id. He also

                                  17   seems to concede that documents created prior to his January 21, 2015 FOIA request (the First

                                  18   FOIA Request) were created because of that litigation and were not prepared in the ordinary

                                  19   course of business. As of January 21, 2015, however, he contends there is a fact question as to

                                  20   whether the redactions the Postal Service claims fall under Exemption 5 were created in the

                                  21   ordinary business. Id.

                                  22          One particular category of documents that Carlson contends falls within the ordinary

                                  23   course of business exception to work product protection is the documents that reflect the Postal

                                  24   Service‘s search for email records that are responsive to Carlson‘s FOIA requests, consisting of 43

                                  25   pages of records, identified in the Vaughn index as documents 2-10 to 2-15, 2-19, 2-21 and 2-22.

                                  26   Id. at 5-7. All of these emails were between Sheela Portonovo and Ashley Tyeryar, at ICP.

                                  27   Castorina Motion Decl., Ex. A. Carlson contends the exclusive subject of these emails, dated from

                                  28   March 5, 2015 to March 26, 2015, is ―the search for records responsive to [the First FOIA
                                                                                         21
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                                   1   Request], including search terms and the number of responsive records.‖ Id. In support of this

                                   2   contention, he points out that ―the subject line of many of the records includes a number roughly

                                   3   corresponding to the FOIA request tracking number that defendant assigned to plaintiff‘s FOIA

                                   4   request‖ and ―the subject line for documents 2-13 and 2-19 reads ‗RE: New terms. RE: FOIA

                                   5   Request from Douglas Carlson, 2015-FPFD-0024.‘‖ Id. According to Carlson, ―[a] search for

                                   6   records is the most fundamental step in processing a FOIA request‖ and the search for records that

                                   7   was conducted by Ms. Portonovo could have been performed by a staff member rather than an

                                   8   attorney. Id. Moreover, he asserts, these documents were created in order to respond to his FOIA

                                   9   request, not because of litigation, even if the Postal Service was anticipating litigation at that time.

                                  10   Id. at 5-6.12

                                  11           As further support for his argument that these documents were created in the ordinary

                                  12   course of business and not because of litigation, Carlson points out that these emails were sent in
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                                  13   March 2015. Id. at 7. According to Carlson, the results of the informal investigation that had

                                  14   been conducted by Postal Service attorneys in response to his January 14, 2015 request for

                                  15   assistance were already being shared with other employees on January 28, 2015, and ―all email

                                  16   discussions about it concluded by February 5, 2015.‖ Id. Moreover, he says, Portonovo does not

                                  17   say in her declaration that she was involved in the investigation; rather, she says she was copied

                                  18   on emails by Snyder and Watson (who she says did conduct the investigation) and she assisted the

                                  19   Postal Service‘s defense by ―coordinat[ing] and conduct[ing] the search for records responsive to

                                  20   Counts 1 and 2.‘‖ Id. (citing Portonovo Motion Decl. ¶¶ 2, 5-6). Carlson also points out that the

                                  21   instant action was not filed until December 24, 2015 and therefore, that Portonovo‘s statement that

                                  22   her efforts to search for records (conducted in March 2015) ―assisted the Postal Service‘s legal

                                  23   defense in the above captioned matter‖ is incorrect. Id.

                                  24           Carlson also argues that ―[a]side from records relating to the FOIA search for records,

                                  25   some other records carry signs that they may not contain attorney work product.‖ Id. at 8. In

                                  26
                                  27   12
                                         Carlson notes that when it first provided documents in response to his FOIA requests the
                                  28   notations next to the redactions on these documents did not list Exemption 5 as a basis for
                                       redaction. Carlson Opposition at6.
                                                                                       22
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                                   1   particular, Carlson contends the unredacted content of Records 1-7, 1-35, 1-41 and 1-45 suggest

                                   2   that these records were related to the Postal Service‘s FOIA response rather than any anticipated

                                   3   litigation. Id.; see also Carlson Opposition Decl., Appendix 2 (copies of cited documents).

                                   4   Carlson also asserts that document 1-50 likely was not prepared because of any litigation but

                                   5   rather appears to relate to the OIG inquiry that was conducted after he submitted a complaint that

                                   6   was forwarded to OIG (discussed above). Id.

                                   7          Carlson further contends the Vaughn index provided by the Postal Service does not provide

                                   8   a reliable basis for determining which documents and redactions might be covered by work

                                   9   product protection. Id. at 9-10. As a preliminary matter, Carlson asserts the Vaughn index is

                                  10   inadequate because it fails to distinguish between documents created in anticipation of litigations

                                  11   and those created in the ordinary course of business. Id. at 5. Even more troubling, he argues, is

                                  12   that the declaration that accompanies the Vaughn index, by Castorina, in which Castorina claims
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                                  13   that both Sheela Portonovo and Mathew Connolly were involved in the investigation of the Santa

                                  14   Cruz Incident even though the declarations provided by Portonovo and Connolly indicate that they

                                  15   were not involved in the investigation, which was conducted by Snyder and Watson. Id. at 9

                                  16   (citing Castorina Motion Decl. ¶ 8; Portonovo Motion Decl. ¶ 2; Connolly Motion Decl. ¶¶ 9-10).

                                  17   This mischaracterization suggests that Castorina is not trustworthy, Carlson asserts. Id.

                                  18          Similarly, Carlson argues, Castorina‘s representation in the Vaughn index that records

                                  19   created in 2016, after he filed this action, were part of the informal investigation of the Incident

                                  20   are not credible as that investigation was long over; instead of stating that these documents were

                                  21   prepared in connection with this litigation, however, she simply used boilerplate language stating

                                  22   that the records were part of the investigation. Id. at 10. Carlson contends these deficiencies in the

                                  23   Vaughn index and the accompanying Castorina declaration render the Postal Service‘s claims

                                  24   unreliable and warrant in camera review of the withheld information by the Court. Id. at 10-12

                                  25   (citing Mervin v. F.T.C., 591 F.2d 821, 826 (D.C. Cir. 1978) (holding that in camera review ―may

                                  26   be the only way to insure that exemption 5 is properly applied‖); Church of Scientology of

                                  27   California v. U.S. Dept. of Army, 611 F.2d 738, 743 (9th Cir. 1979) (―[i]n camera inspection may

                                  28   supplement an otherwise sketchy set of affidavits‖); Quinon v. F.B.I., 86 F.3d 1222, 1228 (D.C.
                                                                                         23
                                         Case 3:15-cv-06055-JCS Document 59 Filed 08/18/17 Page 24 of 56




                                   1   Cir. 1996) (―in camera review may be particularly appropriate when either the agency affidavits

                                   2   are insufficiently detailed to permit meaningful review of exemption claims or there is evidence of

                                   3   bad faith on the part of the agency‖).

                                   4          With respect to the Postal Service‘s reliance on attorney-client privilege, Carlson argues

                                   5   that the same 43 documents that he contends are not subject to work product protection, discussed

                                   6   above, also are not protected under the attorney-client privilege. Id. at 12-13. According to

                                   7   Carlson, the attorney-client privilege applies only to communications between a client and an

                                   8   attorney ―for the purposes of obtaining legal advice.‖ Id. at 13 (citing Sandra T.E. v. South

                                   9   Berwyn School Dist. 100, 600 F.3d 612, 618 (7th Cir. 2009)). Carlson argues that as to these

                                  10   communications, however, there is neither legal advice nor a client. Id. The Postal Service‘s

                                  11   argument that Portonovo was somehow giving legal advice to Tyeryar ―misrepresents the facts,‖

                                  12   Carlson asserts, ―because the attorney wanted the search to be performed, while Ms. Tyeryar had
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                                  13   no independent need to conduct a search for which she or anyone else needed legal advice.‖ Id.

                                  14   Because the Postal Service has improperly invoked attorney-client privilege, Carlson contends, it

                                  15   would be appropriate for the Court to review the withheld and redacted records in camera to

                                  16   determine whether attorney-client privilege applies.

                                  17          Finally, Carlson challenges the Postal Service‘s reliance on the deliberative process

                                  18   privilege to justify withholding the names of the higher level attorneys in the law department who

                                  19   were allegedly involved in the investigation of the Santa Cruz Incident. Id. at 14. Carlson calls

                                  20   ―vague and dubious‖ the Postal Service‘s claim that disclosure of this information would reveal

                                  21   information about the ―level to which the Plaintiff‘s informal complaint was escalated within the

                                  22   law department‖ and would ―discourage candid communication within the law department.‖ Id.

                                  23   (citing Postal Service Motion at 13). He further argues that the Postal Service has failed to

                                  24   provide authority for asserting the privilege in this context. Id. In fact, Carlson contends, courts

                                  25   have found that the identities of individuals involved in deliberations typically are not protected

                                  26   from disclosure by the deliberative process privilege, citing Judicial Watch, Inc. v. U.S. Dep’t of

                                  27   Treasury, 796 F. Supp. 2d 13, 29 (D.D.C. 2011). Id. In that case, according to Carlson, the court

                                  28   found that the privilege does not extend to the names of attendees at government meetings. Id.
                                                                                         24
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                                   1   Carlson argues that in this case, the Postal Service‘s attorneys ―were effectively in meetings‖ and

                                   2   therefore, that their identities are not protected. Id.

                                   3           In its Reply brief, the Postal Service rejects Plaintiff‘s argument that the names it has

                                   4   withheld are discoverable under Rule 26(a)(1)(A)(i) and 26 (a)(3)(A)(i), pointing out that

                                   5   discovery is the exception, not the rule in FOIA cases ―‗because the underlying case revolves

                                   6   around the propriety of revealing certain documents.‘‖ Postal Service Reply at 2 (quoting Lane v.

                                   7   Dep’t of Interior, 523 F.3d 1128, 1134 (9th Cir. 2008)). The Postal Service also rejects Carlson‘s

                                   8   assertion that there is a fact question as to whether documents created after January 21, 2015

                                   9   (when Carlson submitted his First FOIA Request) are protected under the attorney work-product

                                  10   doctrine. Id. at 3-7. First, it argues that it reasonably anticipated litigation throughout 2015,

                                  11   pointing to the fact that Carlson also attempted to add a FOIA claim related to the Santa Cruz

                                  12   Incident in the FOIA action before Judge Corley, which the Court did not permit. Id. at 4.
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                                  13           The Postal Service also rejects Carlson‘s assertion that some of the documents that were

                                  14   produced in response to the First FOIA Request (documents 1-1 through 1-29) are not covered by

                                  15   the work product doctrine.13 Id. According to the Postal Service, all of these documents focused

                                  16   on the investigation of the Incident and even those that mentioned the First FOIA Request did not

                                  17   discuss responding to the FOIA request. Id. at 4-5 (citing Second Supplemental Declaration of

                                  18   Claire T. Cormier and Request for Judicial Notice) (―Cormier Reply Decl.‖) ¶ 4).14 With respect to

                                  19   the documents responsive to the Second FOIA Request (documents 2-1 through 2-26), the Postal

                                  20   Service represents that the only redactions (other than the encryption passwords that Carlson does

                                  21

                                  22   13
                                          As noted above, Carlson specifically pointed to Records 1-7, 1-35, 1-41 and 1-45 and 1-50 as
                                  23   examples of documents that did not appear to have been created in anticipation of litigation. See
                                       Carlson Opposition at 8.
                                       14
                                  24      The Postal Service requests that the Court take judicial notice of the ―information filed in this
                                       case as well as in Plaintiff‘s previous Freedom of Information Act lawsuit against the Postal
                                  25   Service, Case No. CV 13-6017 JSC, pursuant to Federal Rule of Evidence 201.‖ Cormier Reply
                                       Decl. ¶ 3. Federal Rule of Evidence 201(b)(2) states that courts may take judicial notice of facts
                                  26   that are ―capable of accurate and ready determination by resort to sources whose accuracy cannot
                                       reasonably be questioned.‖ As a result, courts may properly take judicial notice of public records,
                                  27   though not the truth of facts asserted in those records, which may be subject to reasonable dispute.
                                       See Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001)). Accordingly, the Court takes
                                  28   judicial notice of the pleadings in Case No. 13-cv-6017 JSC but does not take judicial notice of the
                                       specific facts contained therein.
                                                                                          25
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                                   1   not contest) are the ―names and email addresses that originated in the investigation documented in

                                   2   the Count One documents.‖ Reply at 6 (citing Castorina Decl., Ex. A (Docs. 2-1, 2-3, 204, 2-10

                                   3   through 2-15, 2-19, 2-21, and 2-22); Cormier Reply Decl. ¶ 5 & Ex. A (redacted version of

                                   4   document 2-1).

                                   5          Further, the Postal Service asserts, in light of the ongoing litigation in the 6017 Case, even

                                   6   communications with individuals such as Ms. Israel, a non-attorney who typically handled FOIA

                                   7   requests, were part of the investigation conducted by the Postal Service attorneys. Id.    In

                                   8   addition, to the extent the records search that was conducted by Portonovo might ordinarily have

                                   9   been conducted by a non-attorney, this does not turn her communications into business records

                                  10   that are outside of the protection of the work product doctrine, the Postal Service asserts, because a

                                  11   document need not be prepared for the sole purpose of litigation to fall under the work product

                                  12   doctrine. Id. at 7 (citing Competitive Enter. Inst. v. United States Envtl. Prot. Agency, 2017 WL
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                                  13   521503, at *8 (D.D.C. Feb. 8, 2017)).

                                  14          Moreover, the Postal Service argues, because these documents are protected as attorney

                                  15   work product, the Postal Service is not required to segregate the names that it has redacted because

                                  16   ―‗if a document is covered by the attorney work-product privilege, the government need not

                                  17   segregate and disclose its factual contents.‘‖ Id. (quoting Pac. Fisheries, Inc. v. United States, 539

                                  18   F.3d 1143, 1148 (9th Cir. 2008) (holding that the work product privilege ―shields both opinion and

                                  19   factual work product from discovery‖).

                                  20          The Postal Service also rejects Carlson‘s arguments that the Vaughn index is inadequate.

                                  21   Id. at 7-9. To the extent Carlson challenges the redactions in the documents responsive to the

                                  22   Second FOIA Request on the basis that these documents are not part of the law department‘s

                                  23   investigation of the Incident (as stated in the Vaughn index and the Castorina Motion Declaration),

                                  24   the Postal Service says that this characterization of these documents is accurate. Id. at 7-8. In

                                  25   particular, the only disputed redactions in these documents were the names and email addresses

                                  26   turned up in the investigation. Postal Service Reply at 8. According to the Postal Service, this

                                  27   information was ―part of the investigation‖ even if other content was not, and therefore this

                                  28   information was properly redacted as work product. Thus, for example, the Postal Service
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                                   1   concedes that ―[t]he bulk of the communications to and from Ms. Portonovo about the search was

                                   2   not ‗part of the law department‘s investigation‘ and thus was not redacted, but the names and

                                   3   email addresses – the only redacted information – came directly from the investigation.‖ Id.

                                   4          The Postal Service argues further that even if the search for responsive records might

                                   5   ordinarily have been conducted by a non-attorney, it is not clear that the communications that

                                   6   would have resulted would have taken a substantially similar form to those of Portonovo (a

                                   7   requirement of the exception to the work product doctrine for documents created in the ordinary

                                   8   course of business) because in the absence of the law department‘s investigation the search terms

                                   9   that would have been used might have been quite different. Id. at 8-9. The Postal Service argues

                                  10   also that the fact that the search for records was conducted by an attorney bolsters the conclusion

                                  11   that Portonovo‘s communications were created in anticipation of litigation even if they also were

                                  12   part of the Postal Service‘s effort to respond to Carlson‘s FOIA request. Id. at 9 (citing In re
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                                  13   Grand Jury Subpoena (Mark Torf), 357 F.3d 900, 907 (9th Cir. 2004)).

                                  14          With respect to attorney-client privilege, the Postal Service rejects Carlson‘s argument that

                                  15   it does not apply to the records relating to the search for records responsive to his First FOIA

                                  16   Request, namely, the communications between Portonovo and Tyeryar, the ICP contractor, in

                                  17   March 2015. Id. at 9-10. The Postal Service states, ―[t]he only information redacted from these

                                  18   communications (and other search-related communications between Ms. Portonovo and others)

                                  19   was names and email addresses derived from the previous work product investigation that

                                  20   included many attorney-client communications.‖ Id. at 10. The Postal Service acknowledges that

                                  21   ―much of the search-related communications did not encompass traditional legal advice‖ and

                                  22   therefore was not redacted, pointing out that only ―very limited information‖ was redacted.‖ Even

                                  23   if this information does not ―fall within the specific parameters of the attorney-client

                                  24   communication privilege,‖ the Postal Service asserts, it is still protected as attorney work product.

                                  25   Id.

                                  26          With respect to the deliberative process privilege, the Postal Service in its Reply brief

                                  27   reiterates its argument that disclosure of the identities of senior level attorneys involved in the

                                  28   investigation of the Incident would be likely to chill deliberations and therefore falls under the
                                                                                         27
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                                   1   deliberative process privilege. Id. at 10. It further contends that ―[i]f ‗agency records are indeed

                                   2   deliberative, it is appropriate to apply Exemption 5 to the documents themselves, as well as to the

                                   3   names of their authors.‘‖ Id. (quoting Brinton v. Dep’t of State, 636 F.2d 600, 604 (D.C. Cir.

                                   4   1980)). According to the Postal Service, ―[h]ere, the documents that included the names withheld

                                   5   under deliberative process were part of the Postal Service‘s decision-making process regarding

                                   6   how to deal with Plaintiff‘s complaint, continuing litigation, and ensuing FOIA request, including

                                   7   ‗legal analysis of potential future litigation.‘‖ Id. (quoting Castorina Decl. Ex. A (Docs. 1-5, 1-6,

                                   8   1-7, and 1-8)). Even if this information is not protected under the deliberative process privilege,

                                   9   however, it is protected as attorney work product, according to the Postal Service, and therefore

                                  10   ―the redactions can be upheld without analyzing whether or not they meet the requirements of

                                  11   deliberative process . . . even if the Court determines that they do not.‖ The Postal Service further

                                  12   notes that ―FOIA redactions under deliberative process require a segregability analysis, but
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                                  13   attorney work product redactions do not.‖ Id.

                                  14                2. Discussion
                                  15          The crux of the parties‘ dispute relating to Exemption 5 is whether the names, titles and

                                  16   email addresses of certain individuals, all of whom are Postal Service employees, may be redacted

                                  17   from documents responsive to Carlson‘s First and Second FOIA Requests under the work product

                                  18   doctrine, attorney-client privilege or the deliberative process privilege. In addressing this

                                  19   question, the Court is mindful that ―[a]lthough Congress clearly intended to refer the courts to

                                  20   discovery principles for the resolution of exemption five disputes, the situations are not identical,

                                  21   and the Supreme Court has recognized that discovery rules should be applied to FOIA cases only

                                  22   ‗by way of rough analogies.‘‖ Mead Data Cent., Inc. v. U.S. Dep't of Air Force, 566 F.2d 242, 252

                                  23   (D.C. Cir. 1977) (quoting Envtl. Prot. Agency v. Mink, 410 U.S. 73, 86 (1973)). For example, as

                                  24   the Court in Mink noted, ―we do not know whether the Government is to be treated as though it

                                  25   were a prosecutor, a civil plaintiff, or a defendant.‖ 410 U.S. at 86. ―Nor does the Act, by its

                                  26   terms, permit inquiry into particularized needs of the individual seeking the information, although

                                  27   such an inquiry would ordinarily be made of a private litigant.‖ Id.

                                  28          The Court concludes that the names, titles and email addresses that have been redacted by
                                                                                         28
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                                   1   the Postal Service from the responsive documents it produced to Carlson are not protected from

                                   2   disclosure under the attorney-client privilege, the deliberative process privilege, or the work

                                   3   product doctrine.

                                   4                    a. The Deliberative Process Privilege
                                   5          The Postal Service claims that the names and email addresses of the senior attorneys who

                                   6   were involved in investigating the Santa Cruz Incident are protected from disclosure under the

                                   7   deliberative process privilege. The Court disagrees.

                                   8          To qualify for protection under the deliberative process privilege, a document must be both

                                   9   (1) ―predecisional,‖ that is, ―generated before to the adoption of agency‘s policy or decision‖ and

                                  10   (2) ―deliberative,‖ meaning that it contains opinions, recommendations or advice about agency

                                  11   policies. FTC v. Warner Communications, Inc., 742 F.2d 1156, 1161 (9th Cir. 1984) (citing

                                  12   Coastal States Gas Corp. v. Department of Energy, 617 F.2d 854, 866 (D.C.Cir.1980)). In order to
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                                  13   establish that withheld material is ―predecisional,‖ ―the agency must identify a specific decision

                                  14   to which the document is predecisional.‖ Maricopa Audubon Soc. v. U.S. Forest Serv., 108 F.3d

                                  15   1089, 1094 (9th Cir. 1997). In determining whether material is ―deliberative,‖ courts ―focus on

                                  16   the effect of the materials‘ release – namely, whether disclosure of the materials would expose an

                                  17   agency‘s decision-making process in such a way as to discourage candid discussion within the

                                  18   agency and thereby undermine the agency‘s ability to perform its functions.‖ Id. (internal citations

                                  19   and quotations omitted).

                                  20          Deliberative materials are not limited to opinions; factual material also may be deliberative

                                  21   when disclosure would ―expose an agency‘s decision-making process in such a way as to

                                  22   discourage candid discussion within the agency and thereby undermine the agency‘s ability to

                                  23   perform its functions.‖ Judicial Watch, Inc. v. U.S. Dep’t of Treasury, 796 F. Supp. 2d 13, 28

                                  24   (D.D.C. 2011). On the other hand, purely factual material that does not divulge the reasoning

                                  25   process with which a decision was made is not covered by the deliberative process unless it is so

                                  26   interwoven with the deliberative material that it is not feasible to sever the factual material from

                                  27   the deliberative material. See Assembly of State of Cal. v. U.S. Dep’t of Commerce, 968 F.2d 916,

                                  28   921 (9th Cir. 1992), as amended on denial of reh‘g (Sept. 17, 1992). Thus, for example, in
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                                   1   Judicial Watch, the court found that the content of committee minutes was protected under the

                                   2   deliberative process privilege but that easily segregable minute headings that listed the date and

                                   3   time, the committee members present and the observers was not protected because it was purely

                                   4   factual and did not disclose any deliberative material. 796 F. Supp. 2d at 29-30.

                                   5          Here, the Postal Service has not identified any specific decision or shown how the redacted

                                   6   information was predecisional. Instead, it has simply alleged generally that the information was

                                   7   relevant to the question of how the Postal Service should handle Carlson‘s FOIA requests and

                                   8   litigation. Further, it has offered no explanation in support of its conclusory statement that

                                   9   disclosure of the names of the senior attorneys who were involved in the investigation would

                                  10   somehow divulge the reasoning process of decisionmakers in such a way as to chill future

                                  11   deliberations and undermine the Postal Service‘s ability to perform its functions.

                                  12          Nor does Brinton v. Dep’t of State, 636 F.2d 600, 604 (D.C. Cir. 1980), cited by the Postal
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                                  13   Service in its Reply brief, support a contrary result. In that case, the court held that legal opinions

                                  14   prepared to assist the Secretary of State in formulating foreign policy were protected under the

                                  15   deliberative process privilege where it was undisputed that ―[t]he requested documents contain[ed]

                                  16   opinion rather than mere fact‖ and where the party seeking disclosure did ―not allege the existence

                                  17   of factual material, not intertwined with opinion and advice.‖ In Brinton, the court did not address

                                  18   whether disclosure of the identities of those who wrote the legal opinions would somehow reveal

                                  19   aspects of the deliberative process that would lead to chilling. Therefore, the Court rejects the

                                  20   Postal Service‘s reliance on the deliberative process privilege as a basis for invoking Exemption 5.

                                  21                    b. The Attorney-Client Privilege
                                  22          The purpose of attorney-client privilege is ―to assure that a client‘s confidences to his or

                                  23   her attorney will be protected, and therefore encourage clients to be as open and honest as possible

                                  24   with attorneys.‖ Coastal States Gas Corp. v. Dept of Energy, 617 F.2d 854, 862 (D.C. Cir. 1980).

                                  25   The privilege extends to all situations in which a client seeks an attorney‘s advice on a legal matter

                                  26   and protects not only the client‘s disclosures to an attorney but also an attorney‘s written

                                  27   communications to a client ―to ensure against inadvertent disclosure, either directly or by

                                  28   implication, of information which the client has previously confided to the attorney‘s trust.‖ Id.;
                                                                                         30
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                                   1   see also Mead Data Central Inc. v. U.S. Dep’t of the Air Force, 566 F.2d 242 (D.C.Cir.1977).

                                   2             An attorney-client privilege is established ―(1) [w]hen legal advice of any kind is sought

                                   3   (2) from a professional legal adviser in his or her capacity as such, (3) the communications

                                   4   relating to that purpose, (4) made in confidence (5) by the client, (6) are, at the client‘s instance,

                                   5   permanently protected (7) from disclosure by the client or by the legal adviser (8) unless the

                                   6   protection be waived.‖ U.S. v. Martin, 278 F.3d 988, 999 (9th Cir.2002). ―‗Because it impedes full

                                   7   and free discovery of the truth, the attorney-client privilege is strictly construed.‘‖ Id. (quoting

                                   8   Weil v. Inv./ Indicators, Research & Mgmt., Inc. 647 F.2d 18, 24 (9th Cir.1981)).

                                   9             ―The privilege extends to agencies as well to the extent the agency is consulting its

                                  10   attorney as would any private party seeking advice to protect personal interest.‖ Our Children’s

                                  11   Earth Found. v. Nat'l Marine Fisheries Serv., 85 F. Supp. 3d 1074, 1086 (N.D. Cal. 2015)

                                  12   (internal citations and quotations omitted). ―‗In the governmental context, the ‗client‘ may be the
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                                  13   agency and the attorney may be an agency lawyer.‘‖ Rollins v. United States Dep’t of State, 70 F.

                                  14   Supp. 3d 546, 552 (D.D.C. 2014) (quoting Tax Analysts v. IRS, 117 F.3d 607, 618 (D.C.Cir.

                                  15   1997)). However, where an agency lawyer serves in a ―mixed capacity that involves

                                  16   responsibilities both within and ‗outside the lawyer‘s sphere,‘ the agency employee‘s

                                  17   communications will only be protected to the extent that they involve his or her professional, legal

                                  18   capacity.‖ Id. (quoting In re Sealed Case, 737 F.2d 94, 99 (D.C.Cir.1984)).

                                  19             ―To support claims of attorney-client privilege, the agency must, in its Vaughn index,

                                  20   ‗show that these documents involved the provision of specifically legal advice or that they were

                                  21   intended to be confidential and were kept confidential.‘‖ Id. at 1087 (quoting Nat’l Resources

                                  22   Def. Council v. U.S. Dep’t of Def., 388 F.Supp.2d 1086, 1104 (C.D. Cal. 2005)). Explanations in

                                  23   the Vaughn index must be tailored to specific documents rather than using boilerplate language in

                                  24   order for the agency to meet its burden. Id. (citing Wiener v. FBI, 943 F.2d 972, 978-79 (9th Cir.

                                  25   1991)).

                                  26             The Postal Service has all but conceded that the documents reflecting communications

                                  27   between Portonovo and Tyeryar regarding the search terms used for finding responsive documents

                                  28   were not for the purposes of providing legal advice to the agency. See Postal Service Reply at 10
                                                                                          31
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                                   1   (―Recognizing that much of the search-related communications did not encompass traditional legal

                                   2   advice, the bulk of those communications between Ms. Portonovo and others were not redacted.‖)

                                   3   In this context, the Postal Service‘s theory is that specific information contained in these

                                   4   communications, which did not themselves relate to the provision of legal advice to the client,

                                   5   could be redacted because the same information was contained in other documents that are subject

                                   6   to attorney-client privilege or are protected as work product. The Court has found no authority,

                                   7   however, that suggests a piece of information that is contained in a document created by an

                                   8   attorney but not in connection with the provision of legal advice to a client can be redacted under

                                   9   the attorney-client privilege on the basis that the same information is contained in other

                                  10   communications that are subject to attorney-client privilege.

                                  11          Second, and more broadly, the Postal Service‘s redaction of the names, titles and email

                                  12   addresses that Carlson seeks flies in the face of the rule that in cases that involve ―normal
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                                  13   discovery‖ ―[t]he [attorney-client] privilege only protects disclosure of communications; it does

                                  14   not protect disclosure of the underlying facts by those who communicated with the attorney.‖

                                  15   Upjohn Co. v. United States, 449 U.S. 383, 395 (1981). Thus, in Upjohn, the Court found that

                                  16   application of the attorney–client privilege to communications between corporate counsel and

                                  17   employees in connection with an internal investigation conducted by counsel ―put[] the adversary

                                  18   in no worse position than if the communications had never taken place.‖ Id. According to the

                                  19   Court, this was because ―‗[t]he client cannot be compelled to answer the question, ―What did you

                                  20   say or write to the attorney?‖ but may not refuse to disclose any relevant fact within his

                                  21   knowledge merely because he incorporated a statement of such fact into his communication to his

                                  22   attorney.‘‖ Id. (quoting Philadelphia v. Westinghouse Electric Corp., 205 F.Supp. 830, 831 (E.D.

                                  23   Pa. 1962)). Similarly, in the FOIA context, the government‘s right to withhold attorney-client

                                  24   communications in response to a FOIA request does not entitle it to withhold basic facts to which

                                  25   a litigant in a civil action would be entitled. See Nat. Res. Def. Council v. U.S. Dep’t of Def., 442

                                  26   F. Supp. 2d 857, 877 (C.D. Cal. 2006) (―Holding the government to its burden of segregation is

                                  27   especially important when Exemption 5 is invoked, because the public has a vital interest in

                                  28   knowing the facts that are available to the agency‖) (citations omitted). Therefore, the Court
                                                                                         32
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                                   1   rejects the Postal Service‘s reliance on the attorney-client privilege in support of its redactions

                                   2   under Exemption 5.

                                   3                     c. The Work Product Privilege
                                   4           The work product doctrine is governed by Rule 26(b)(3) of the Federal Rules of Civil

                                   5   Procedure, which provides, in relevant part:

                                   6                   (A) Documents and Tangible Things. Ordinarily, a party may not
                                                       discover documents and tangible things that are prepared in
                                   7                   anticipation of litigation or for trial by or for another party or its
                                                       representative (including the other party‘s attorney, consultant,
                                   8                   surety, indemnitor, insurer, or agent). But, subject to Rule 26(b)(4),
                                                       those materials may be discovered if:
                                   9
                                                       (i) they are otherwise discoverable under Rule 26(b)(1); and
                                  10
                                                       (ii) the party shows that it has substantial need for the materials to
                                  11                   prepare its case and cannot, without undue hardship, obtain their
                                                       substantial equivalent by other means.
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                                       Fed. R. Civ. P. 26(b)(3). Rule 26(a)(1), in turn, governs initial disclosures and requires that ―a
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                                  13
                                       party must, without awaiting a discovery request, provide to the other parties:(i) the name and, if
                                  14
                                       known, the address and telephone number of each individual likely to have discoverable
                                  15
                                       information – along with the subjects of that information – that the disclosing party may use to
                                  16
                                       support its claims or defenses . . . .‖
                                  17
                                               The work product rule is not a privilege but a qualified immunity protecting from
                                  18
                                       discovery documents and tangible things prepared by a party or his representative in anticipation
                                  19
                                       of litigation. Admiral Ins. Co. v. U.S. Dist. Court for Dist. of Arizona, 881 F.2d 1486, 1494-95
                                  20
                                       (9th Cir. 1989) (citing Fed.R.Civ.P. 26(b)(3)). Thus, work product materials may be ordered
                                  21
                                       produced ―upon an adverse party‘s demonstration of substantial need or inability to obtain the
                                  22
                                       equivalent without undue hardship.‖ Id. (citing Upjohn, 449 U.S. at 401). ―If a court orders
                                  23
                                       disclosure of work product, however, ‗it must protect against disclosure of the mental impressions,
                                  24
                                       conclusions, opinions, or legal theories of a party‘s attorney or other representative concerning the
                                  25
                                       litigation.‘‖ Moreno v. Autozone, Inc., No. C-05-4432 CRB (EMC), 2008 WL 906510, at *1 (N.D.
                                  26
                                       Cal. Apr. 1, 2008) (citing Fed.R.Civ.P. 26(b)(3)(B)). Consequently, ―opinion work product,‖ as
                                  27
                                       opposed to ―fact work product,‖ is ―typically considered core work product‖ and requires a
                                  28
                                                                                         33
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                                   1   heightened showing of extraordinary circumstances‖ to overcome work product protection.‖ Id.

                                   2   (citing In re Green Grand Jury Proceedings, 492 F.3d 976, 980 (8th Cir.2007); In re Cendant

                                   3   Corp. Sec. Litig., 343 F.3d 658, 664 (3d Cir.2003)).

                                   4           The main purpose of the conditional protection available under the work product doctrine

                                   5   is to ―prevent exploitation of a party‘s efforts in preparing for litigation.‖ Id. (citing Hewlett–

                                   6   Packard Co. v. Bausch & Lomb, Inc., 116 F.R.D. 533, 538 (N.D.Ca.1987) (concluding that

                                   7   principal function of work product rule is to force each side to do its own work); 8 C. Wright & A.

                                   8   Miller, Federal Practice and Procedure § 2021 (1970)). Thus, the principal difference between the

                                   9   attorney-client privilege and the work product doctrine, in terms of the protections each provides,

                                  10   is that the privilege cannot be overcome by a showing of need, whereas a showing of need may

                                  11   justify discovery of an attorney‘s work product.‖ Id. (citing Saltzburg, Corporate and Related

                                  12   Attorney-Client Privilege: A Suggested Approach, 12 Hofstra L.Rev. 279, 299 (1984)).
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                                  13           ―To qualify for work product protection, documents must: (1) be ‗prepared in anticipation

                                  14   of litigation or for trial‘ and (2) be prepared ‗by or for another party or by or for that other party‘s

                                  15   representative.‘‖ United States v. Richey, 632 F.3d 559, 567-68 (9th Cir. 2011) (quoting In re

                                  16   Grand Jury Subpoena, Mark Torf/Torf Envtl. Mgmt. (Torf), 357 F.3d 900, 907 (2004)). Where a

                                  17   document serves a dual purposes, that is, it was not prepared exclusively for litigation, courts ask

                                  18   whether the document was prepared ―because of litigation‖ to determine if it satisfies the first

                                  19   prong of the work product test. Id. In Torf, the Ninth Circuit described this test as follows:

                                  20                   This formulation states that a document should be deemed prepared
                                                       ―in anticipation of litigation‖ and thus eligible for work product
                                  21                   protection under Rule 26(b)(3) if ―in light of the nature of the
                                                       document and the factual situation in the particular case, the
                                  22                   document can be fairly said to have been prepared or obtained
                                                       because of the prospect of litigation.‖
                                  23

                                  24   357 F.3d at 907 (quoting Charles Alan Wright, Arthur R. Miller, and Richard L. Marcus, 8 Federal

                                  25   Practice & Procedure § 2024 (2d ed. 1994) (―Wright & Miller‖)). Drawing on Wright & Miller,

                                  26   the court explained that ―[i]n the ‗because of‘ Wright & Miller formulation, ‗the nature of the

                                  27   document and the factual situation of the particular case‘ are key to a determination of whether

                                  28   work product protection applies.‖ Id. at 908 (quoting Wright & Miller § 2024). In Torf, the court
                                                                                          34
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                                   1   found that the dual purpose documents at issue were ―entitled to work product protection because,

                                   2   taking into account the facts surrounding their creation, their litigation purpose so permeate[d] any

                                   3   non-litigation purpose that the two purposes cannot be discretely separated from the factual nexus

                                   4   as a whole.‖ Id. at 910.

                                   5          Here, it is apparent that some of the communications from which the Postal Service has

                                   6   redacted the information Carlson seeks, namely, the communications between Portonovo and

                                   7   Tyeryar, were created in the normal course of responding to Carlson‘s FOIA requests and not

                                   8   ―because of‖ anticipated litigation. The vast majority of Portonovo‘s declaration is devoted to

                                   9   describing, in detail, her efforts to identify documents responsive to Carlson‘s FOIA requests.

                                  10   Portonovo Motion Decl. ¶¶ 6-12. As Portonovo describes, these efforts included email

                                  11   communications with Ashley Tyeryar, of ICP, who ran searches for Portonovo using the search

                                  12   terms Portonovo provided. Id. Based on the totality of the circumstances, the Court finds that the
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                                  13   communications between Portonovo and Tyeryar would have been created in substantially the

                                  14   same form regardless of whether litigation was anticipated. Therefore, the Postal Service may not

                                  15   rely on work product protection in support of its redaction of the names, titles and email addresses

                                  16   Carlson seeks from these communications.

                                  17          More broadly, the Court finds that the work product doctrine does not protect the names

                                  18   and addresses Carlson seeks even if the documents that contain that information are themselves

                                  19   protected under the work product doctrine. As discussed above, FOIA provides that ―[a]ny

                                  20   reasonably segregable portion of a record shall be provided to any person requesting such record

                                  21   after deletion of the portions which are exempt under this subsection.‖ 5 U.S.C. § 552(b). The

                                  22   Supreme Court has found that ―it is reasonable to construe Exemption 5 to exempt those

                                  23   documents, and only those documents, normally privileged in the civil discovery context.‖ N. L.

                                  24   R. B. v. Sears, Roebuck & Co., 421 U.S. 132, 149 (1975). It is well established in the context of

                                  25   civil discovery that the names and contact information of witnesses must be disclosed to the

                                  26   opposing party, regardless of whether this information may be contained in a document that is

                                  27   attorney work product. See Fed. R. Civ. P. 26(a)(1) (A)(i) & (a)(3)(A)(i). While FOIA cases have

                                  28   certain characteristics that distinguish them from the typical discovery context, the Court finds no
                                                                                        35
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                                   1   authority that suggests these differences warrant a broadening of work product protection under

                                   2   Exemption 5 to allow the Government to protect this sort of basic information in the FOIA

                                   3   context. Nor has the Postal Service established that disclosure of this information is likely to

                                   4   reveal any attorney‘s ―tactical and strategic‖ thoughts about actual or anticipated litigation. See

                                   5   Mervin v. F.T.C., 591 F.2d 821, 826 (D.C. Cir. 1978) (finding that work product protection applies

                                   6   where ―factual material segregated from attorney work-product is likely to reveal some of the

                                   7   attorney‘s tactical and strategic thoughts‖ but recognizing that ―the government cannot exempt

                                   8   pure statements of fact from disclosure by calling them attorney work-product‖).

                                   9          Therefore, the Court concludes that the Postal Service may not redact from its responsive

                                  10   documents the names, titles and email addresses of the individuals who were involved in the

                                  11   Incident or consulted about it under the work product doctrine.

                                  12          D.    Exemption 6
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                                  13                1. Background
                                  14          The Postal Service contends, in the alternative, that it permissibly withheld the names and

                                  15   email addresses of the individuals who were involved in the Incident as well as other employees

                                  16   who were consulted during the investigation under Exemption 6 of FOIA. Postal Service Motion

                                  17   at 14. Under Exemption 6, FOIA ―does not apply to . . . personnel and medical files and similar

                                  18   files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy.‖

                                  19   5 U.S.C. § 552(b)(6). The Postal Service claims that the redactions of employee names in this

                                  20   case meet the two requirements of the statute: (1) that the information is contained in personnel,

                                  21   medical, or similar files; and (2) that the information‘s ―disclosure would constitute a clearly

                                  22   unwarranted invasion of personal privacy‖ under a balancing test that weighs individual privacy

                                  23   against the public interest in disclosure. Id. at 14-15 (quoting United States Dep’t of State v.

                                  24   Washington Post Co., 456 U.S. 595, 598 (1982)).

                                  25          Carlson disagrees, arguing the Postal Service has not satisfied any element of Exemption

                                  26   6‘s requirements with respect to the individuals involved in the Incident or the other employees

                                  27   who were consulted after the Incident. Carlson Motion at 8.

                                  28
                                                                                         36
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                                   1                    a. Similar Files

                                   2          The Postal Service claims that the emails from which employees‘ names and other

                                   3   personal information were redacted constitute ―similar files‖ ―because they consist of ‗government

                                   4   records containing information that applies to particular individuals.‘‖ Motion at 14-15 (quoting

                                   5   Forest Serv. Emps. for Envt’l Ethics v. U.S. Forest Serv., 524 F.3d 1021, 1024 (9th Cir. 2008));

                                   6   see also id. at 14 n.8; Postal Service Opposition at 3. The Postal Service emphasizes that the

                                   7   definition of the term ―similar file‖ is broad. Id. at 14 (citing Washington Post, 456 U.S. at 600,

                                   8   602). Thus, it contends, the term encompasses names and identifying information of federal

                                   9   employees. Postal Service Opposition at 4 (citing Forest Serv. Emps., 524 F.3d at 1024).

                                  10          Carlson argues that the names do not constitute similar files in this case. See Carlson

                                  11   Motion at 8-16. While acknowledging that ―[s]ome courts have found that government employee

                                  12   names may constitute ‗similar files‘ within the meaning of exemption 6,‖ Carlson Motion at 8
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                                  13   (citing Forest Serv. Emps. For Envt’l Ethics, 524 F.3d 1021, 1024 (9th Cir. 2008)), Carlson

                                  14   contends courts are more likely to find that the ―similar file‖ requirement is met where ―release of

                                  15   the information would invade privacy much in the same way that release of inherently personal

                                  16   and private files like medical and personnel files would‖ than where there is only a ―mundane and

                                  17   routine mention of an employee‘s name‖ in a record. Id. at 12. Here, he asserts, the ―similar files‖

                                  18   requirement is not met because Postal Service employees do not have any expectation of privacy

                                  19   in their names while conducting business. Id. He points to the Postal Services Handbook AS-

                                  20   353, Guide to Privacy, the Freedom of Information Act, and Records Management (―Handbook‖),

                                  21   which states that ―[t]he following data is public information: the name, job title, grade, current

                                  22   salary, duty station, and dates of employment of any current or former Postal Service employee.‖

                                  23   Id. (quoting Handbook, http://about.usps.com/handbooks/as353.pdf) § 5-2(b)(1)). He also

                                  24   contends that one federal court has already ruled that the Postal Service must disclose the

                                  25   names and duty positions of its employees. Id. (citing Nat’l W. Life Ins. Co. v. U.S., 512 F. Supp.

                                  26   454 (N.D. Tex. 1980)).

                                  27          Carlson further argues that the Postal Service expects the public to know employee names,

                                  28   pointing to the Postal Service‘s online complaint form that includes a space for the employee‘s
                                                                                         37
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                                   1   name, discussed above. See Carlson Reply at 5. He also points out that all Postal Service

                                   2   employees are required to ―wear and visibly display‖ identification badges. Carlson Motion at 13

                                   3   (quoting Administrative Support Manual (―ASM‖) § 277.233) (found at https://www.apwu.org/

                                   4   sites/apwu/ files/resource-files/Administrative%20Support%20Manual% 20Issue%2013%20

                                   5   (Updated% 20through%2011-2013.pdf).15 He also points to ASM Section 277.31, which requires:

                                   6                     All personnel assigned a Form 4098-F must wear it during official
                                                         duty hours displayed on the outer garment over the left breast. When
                                   7                     this is not practicable, Form 4098 is worn in plain view on the belt
                                                         or as prescribed by the installation head. In addition, at installations
                                   8                     where postal police officers are assigned access control functions,
                                                         all employees are required to display their identification to the
                                   9                     officer on entering the facility or grounds. which display an
                                                         employee‘s full name and portrait.
                                  10

                                  11   Id.; see also Carlson Reply at 1-2.16 Carlson Motion at 13; see also Carlson Reply at 1-4.

                                  12   Carlson acknowledges that there is an exception for retail employees under Handbook PO-209,
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                                  13   Retail Operations Handbook, at § 3-4. Carlson Motion at 13 (citing http://www.apwu.org/sites/

                                  14   apwu/ files/resource-files/PO-209%20Retail%20Operations%20Handbook%2010-12%20%

                                  15   28979%20KB%29.pdf). That section states that ―[n]ame tags of the retail associates are to be

                                  16   worn over the right breast so that the tag is visible to the customer. Employees with ID badges

                                  17   must wear the badges at all times; but the badges may be worn out of sight of the customer, either

                                  18   on the waist or as prescribed by the installation head.‖ Handbook PO-209, Retail Operations

                                  19
                                       15
                                  20        This section states, in its entirety, as follows:

                                  21              The responsible district manager issues Form 4098-F, Employee Identification (face), or
                                                  an equivalent photo identification card, to every postal employee; postal contractor; and
                                  22              temporary employee, including casual employees. All employees must wear and visibly
                                                  display Form 4098-F or an equivalent photo identification card while officially employed
                                  23              and on duty (see section 277.3). All cards must include, at a minimum, the name of the
                                                  employee, the facility to which they are assigned, and a photo of the employee. Each
                                  24              district manager is responsible for Form 4098-F or equivalent photo identification cards.
                                                  Form 4098-F and equivalent photo identification cards provide visible identification of
                                  25              employees while on the workroom floor and serving customers outside of postal facilities.
                                                  While on duty away from the facilities servicing customers, each employee must wear
                                  26              and display Form 4098-F or an equivalent photo identification card.
                                       16
                                  27      Carlson acknowledges that a retail employee is not required to display his or her identification
                                       badge to the public, but asserts that such employees must nonetheless display his or her first name
                                  28   and that he believes neither of the Santa Cruz employees were retail employees. Carlson Mot.
                                       at 13.
                                                                                        38
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                                   1   Handbook, at § 3-4. Carlson states, however, that he believes neither of the individuals involved

                                   2   in the Incident were retail employees. Carlson Motion at 13.

                                   3          The Postal Service challenges Carlson‘s reliance on its identification badge policies to

                                   4   establish that employees have no expectation of privacy in their names and offers declarations by

                                   5   Postal Inspector Lawrence C. Dukes Jr. (―Dukes Motion Decl.‖ and ―Dukes Opposition Decl.‖)

                                   6   ―explaining the employee identification security policy.‖ Dukes Motion Decl. ¶ 3. Dukes points

                                   7   to ASM § 277.1, which sets forth the purpose of ―identification security,‖ stating that

                                   8   ―Identification is issued for security control of access to postal premises and operations and to

                                   9   identify individuals as Postal Service employees.‖ Dukes Motion Decl., Ex. A. He describes the

                                  10   Postal Service‘s policies governing identification badges as follows:

                                  11                  In summary, employees are issued badges to identify them as
                                                      employees and control access to Postal facilities. The badges allow
                                  12                  employees to determine if an individual is authorized to access a
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                                                      specific Postal facility and/or control access to restricted areas.
                                  13                  Employees whose regular duties require them to work outside of a
                                                      facility, such as letter carriers, are required to wear identification
                                  14                  badges, so that customers can identify them as Postal employees.
                                                      There are exceptions to the policy, however. As stated above, an
                                  15                  exception is granted for occupational safety and employees in a
                                                      retail environment. Retail associates are allowed to conceal their
                                  16                  identification badges, as to prevent revealing their full name to
                                                      customers.
                                  17

                                  18   Dukes Motion Decl. ¶ 7; see also Dukes Opposition Decl. ¶ 4. Dukes states further that

                                  19                  In my experience, mail delivery and collections are the most
                                                      common offsite duties performed by postal employees (i.e., mail
                                  20                  carriers) during which customer contact may occur. While
                                                      performing postal duties offsite, employees are required to wear
                                  21                  their postal identification badges. The purpose of wearing badges, as
                                                      well as uniforms, is for customers to identify an individual as a
                                  22                  Postal employee. The purpose is not to provide the employee‘s name
                                                      to the general public. There may be instances in which an
                                  23                  employee‘s name on his/her badge is visible to a customer, but
                                                      postal policy does not require that an employee‘s name be displayed
                                  24                  in a manner that the general public is always able to read an
                                                      employees‘ name. Based on my experience, I am aware that
                                  25                  situations may arise when customers request to see an employee‘s
                                                      badge; however, in those situations, the employee should assess the
                                  26                  situation and decide if it is advisable or safe to do so.

                                  27   Dukes Opposition Decl. ¶ 5.

                                  28
                                                                                        39
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                                   1                  b. The Balancing Test

                                   2          The Postal Service contends that disclosure of the redacted employee names and email

                                   3   addresses would constitute a clearly unwarranted invasion of the employees‘ personal privacy

                                   4   under Exemption 6‘s balancing test, which weighs the individual‘s privacy interest against the

                                   5   public‘s right to disclosure. See Postal Service Motion at 15 (citing United States Dep’t of Justice

                                   6   v. Reporters Comm. for Freedom of Press, 489 U.S. 749 (1989)). In support of this assertion, the

                                   7   Postal Service argues that the employees have a privacy interest in their names, that they have not

                                   8   engaged in any misconduct, and that they are not required to disclose their names to the general

                                   9   public. Id. at 15-16. On the other hand, the Postal Service asserts, Carlson has not demonstrated

                                  10   that there is a significant public interest in knowing the identities of the individuals involved in the

                                  11   Santa Cruz Incident, as this information would not give the public a better understanding of the

                                  12   operations of the Postal Service. Id. at 17 (citing Nat’l Archives & Records Admin. v. Favish, 541
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                                  13   U.S. 157, 172 (2004)).

                                  14          Carlson argues that the Postal Service employees have no privacy interest in their names

                                  15   but that even if they did, the public interest in disclosing the names of the employees and the other

                                  16   employees named in the emails outweighs any minimal privacy interest that the employees‘ have

                                  17   in their names. See Carlson Motion at 16, 18.

                                  18                        i. The Privacy Interest
                                  19          The Postal Service argues that it has demonstrated that a nontrivial privacy interest is at

                                  20   stake: the Postal Service employees have privacy interests in their names and in being free from

                                  21   harassment. See Postal Service Motion at 15-17 (citing, inter alia, U.S. Dep’t of Def. v. FLRA,

                                  22   510 U.S. 487, 501 (1994)). The Postal Service argues that establishing an interest in being free

                                  23   from harassment does not require showing that harassment has occurred or will occur, but only

                                  24   that disclosure would result in a potential for harassment. Postal Service Opposition at 7. In

                                  25   particular, the Postal Service contends:

                                  26                  The employees at issue here have a legitimate privacy interest in
                                                      their names. They have a right to be protected from the prospect of
                                  27                  being harassed or embarrassed during [Carlson‘s] plan to
                                                      ―investigate‖ the incident. The Postal Service has a duty to protect
                                  28                  the safety and security of its employees. This duty extends to
                                                                                         40
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                                                      protection from rogue investigations by members of the public
                                   1                  seeking information on specific employees for their own personal
                                                      motives.
                                   2

                                   3   Id. at 9.

                                   4           In support of its contention that the employees have a privacy interest in their names and

                                   5   email addresses, the Postal Service relies on Forest Service Employees, in which the Ninth Circuit

                                   6   held that the United States Forest Service‘s redaction of employee names from a public report was

                                   7   permissible pursuant to Exemption 6. Postal Service Motion at 15-16 (citing Forest Serv. Emps.,

                                   8   524 F.3d at 1022–24, 1026). According to the Postal Service, this case demonstrates that a

                                   9   person‘s status as a civil servant, even one who has been disciplined, does not eliminate his or her

                                  10   right to privacy. Id. at 16 (citing Forest Serv. Emps., 524 F.3d at 1026). The Postal Service

                                  11   further asserts that ―Exemption 6 can cover ‗both the subject of the investigation and third parties

                                  12   such as witnesses.‘‖ Postal Service Opposition at 9 (quoting Wood v. FBI, 432 F.3d 78, 86 (2d
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                                  13   Cir. 2005)). Consequently, it contends, the individuals involved in the incident and those who

                                  14   were consulted after the Incident have a privacy interest in their names and email addresses.

                                  15           Carlson argues that neither the employees involved in the Incident nor the other employees

                                  16   have a privacy interest in their names. Carlson Motion at 15-16. He points to a June 16, 2016

                                  17   letter from the Postal Service‘s Office of the General Counsel in response to a different FOIA

                                  18   request stating that ―[p]ostal employees‘ names in interoffice emails do not qualify as personnel or

                                  19   similar files within the meaning of [exemption 6] because none of the emails contain personal

                                  20   information.‖ Id. at 15 (citing Carlson Motion Decl. Appendix 2). Similarly, a letter dated

                                  21   January 18, 2017 that he received from OIG in response to an administrative appeal concerning a

                                  22   different FOIA request stated that ―[g]enerally, a government employee does not have a privacy

                                  23   interest in her name . . . [or] present or past position titles[.]‖ Id. (quoting Carlson Motion Decl.,

                                  24   Appendix 4) (original brackets, internal quotation marks omitted, punctuation altered). The same

                                  25   conclusion applies here, Carlson contends: ―Employees named after the incident, including

                                  26   employees who may have provided information about the incident, do not have a privacy interest

                                  27   in their names because the email messages do not contain personal information.‖ Id. at 15.

                                  28           Carlson argues further that even if the individuals involved in the Incident have a privacy
                                                                                         41
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                                   1   interest in their names, that interest is minimal. See Carlson Motion at 16. Pointing out that he

                                   2   knows what these employees look like, Carlson argues that he could discover their names if he

                                   3   saw them again by looking at their identification badge or asking the employees for their names.

                                   4   Id. According to Carlson, this context distinguishes the present matter from case law involving

                                   5   the privacy interests that government employees have in their names cited by the Postal Service.

                                   6   Specifically, Carlson asserts:

                                   7
                                                      [I]f name and appearance are two important components of a
                                   8                  person‘s identity, arguably appearance is the larger component.
                                                      Plaintiff already is familiar with the appearance of these employees,
                                   9                  so their names do not reveal much about their identity that plaintiff
                                                      does not already know, nor does withholding their names ensure that
                                  10                  plaintiff cannot identify them in another way.

                                  11   Id. Carlson further argues that the Santa Cruz employees lost their privacy interests by choosing

                                  12   to interact with him. Id. Supporting that position, Carlson asserts that the employees could have
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                                  13   elected to let him ―engage[] in a constitutionally protected activity . . . without question or

                                  14   harassment,‖ but the employees confronted him and ―they cannot now hope that their employer

                                  15   will hide their names.‖ Id. at 16–17.

                                  16          In his Reply, Carlson asserts that the Postal Service has submitted no evidence that its

                                  17   employees will be subject to harassment upon release of their names, despite asserting in its briefs

                                  18   that they will. Carlson Reply at 14. Carlson submits his own declaration attesting that he does not

                                  19   intend to contact the two employees involved in the Incident and that if he did contact any

                                  20   managers or supervisors, he would be doing so consistent with their role of overseeing the conduct

                                  21   of employees. Id. at 14 (citing Carlson Reply Decl. ¶ 2). He also submits a declaration of a fellow

                                  22   Postal enthusiast who has known Carlson for more than twenty years attesting that Carlson has a

                                  23   long history of respectful and appropriate conduct in pursuit of his interest in the Postal Service.

                                  24   Carlson Reply at 15 (citing Delaney Reply Decl. ¶¶ 2-8).

                                  25                        ii. The Public Interest
                                  26          The Postal Service claims that there is no discernable public interest in the names of the

                                  27   Station Employees or those who participated in the Santa Cruz Incident‘s investigation. Postal

                                  28   Service Motion at 17. According to the Postal Service, a public interest in information is one that
                                                                                         42
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                                   1   would ―‗she[d] light on an agency‘s performance of its statutory duties‘ or otherwise let citizens

                                   2   know ‗what their government is up to,‘‖ and a FOIA requester‘s personal interest in information is

                                   3   irrelevant to the evaluation of the public‘s interest in disclosure of that information. Id. (quoting

                                   4   United States Dep’t of Def. v. FLRA, 510 U.S. 487, 497 (1994); citing Moore v. United States, 602

                                   5   F. Supp. 2d 189, 194 (D.D.C. 2009)). The Postal Service argues that Carlson ―has not shown why

                                   6   the names of the [Station Employees] would result in a better understanding of the operations of

                                   7   the Postal Service.‖ Id. The Postal Service further argues that Carlson‘s dissatisfaction with the

                                   8   Postal Service‘s response to the Santa Cruz Incident and his personal interest in investigating it

                                   9   independently are irrelevant to the Court‘s determination of the present case. Postal Service

                                  10   Opposition at 4 (citing Multi Ag Media LLC v. USDA, 515 F.3d 1224, 1231 n.2 (D.C. Cir. 2008));

                                  11   see also id. at 6–7 (arguing that Carlson‘s insertion of the word public into his personal reasons for

                                  12   desiring the names of Postal Service employees does not transform that personal interest into a
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                                  13   public interest, and that there is no indication that the Santa Cruz Incident is part of a ―widespread

                                  14   pattern‖ within the Postal Service).

                                  15          In taking this position, the Postal Service distinguishes this case from Gordon v. FBI, 388

                                  16   F. Supp. 2d 1028 (N.D. Cal. 2005), in which Judge Breyer ordered the Federal Bureau of

                                  17   Investigation to disclose the names of individuals who were developing and implementing ―no

                                  18   fly‖ lists for the Transportation Security Administration. Postal Service Motion at 17–18 (citing

                                  19   Gordon, 388 F. Supp. 2d at 1033, 1041). According to the Postal Service, the conduct of the

                                  20   individuals involved in the Incident did not involve or affect the formulation of government

                                  21   policy and the documents from which their names and the names of other employees were

                                  22   redacted do not pertain to policy-related matters akin to the development and implementation of a

                                  23   ―no fly‖ list. Id. at 18. In its Opposition to Carlson‘s Motion, the Postal Service argues that

                                  24   Carlson must demonstrate that the public interest in disclosure is significant and rejects Carlson‘s

                                  25   assertion (discussed below) that there is public interest in this case that is comparable to the public

                                  26   interests that was at stake in Gordon, 388 F. Supp. 2d at 1041, and Forest Service Employees, 524

                                  27   F.3d at 1026. Postal Service Opposition at 5–6. According to the Postal Service:

                                  28                  This case does not relate to a widespread government practice (such
                                                                                         43
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                                                      as ―no fly‖ lists) or a tragic event that had received significant public
                                   1                  attention (such as a fatal fire). There is no indication of any
                                                      significant public interest in learning further details about an
                                   2                  incident involving Plaintiff outside an unopened post office . . . .
                                   3   Id. The Postal Service concludes that its employees‘ ―names do not shed light on the Postal

                                   4   Service‘s performance of its statutory duties.‖ Postal Service Motion at 18.

                                   5           Carlson claims that ―[a] strong public interest exists in disclosing the names of‖ the

                                   6   individuals involved in the Incident. Carlson Motion at 18. In particular, Carlson argues:

                                   7
                                                      Plaintiff and other members of the public who are familiar with this
                                   8                  incident have a compelling interest in understanding how
                                                      defendant‘s employees treat customers who have requested that the
                                   9                  agency provide the service level that the agency‘s regulations
                                                      require or who have appealed to a higher level of management to
                                  10                  overrule a flawed decision that those employees made. . . .
                                                      Alternatively, the public has a significant interest in understanding
                                  11                  the level and role of employees in defendant‘s organization who
                                                      believe that they can confront and accost members of the public who
                                  12                  are engaging in legal activities.
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                                  13   Id. at 18–19. Carlson argues that the purpose of FOIA is to pierce the veil of administrative

                                  14   secrecy and, in this case, the Postal Service is expending public resources to maintain secrecy

                                  15   ―instead of investigating the actions of the employees and, for example, apologizing to plaintiff.‖

                                  16   Id. at 19.

                                  17           Carlson also argues that the names of other employees mentioned in the emails ―may

                                  18   provide additional insight‖ into the circumstances surrounding this litigation. Id. As an example,

                                  19   Carlson asserts that he doubts that Mr. An, the officer-in charge at the Santa Cruz Post Office, was

                                  20   truthful when he told Carlson that he did not know the identities of the individuals involved in the

                                  21   Incident. Id. If Mr. An was the person with whom Jeremy Watson spoke about the Incident,

                                  22   Carlson contends, he would gain ―valuable insight for future reference into Mr. An‘s credibility‖

                                  23   and he could ―determine whether to contact him concerning service issues in the future or, instead,

                                  24   to appeal directly to a higher authority.‖ Id.

                                  25            Carlson argues that the Ninth Circuit‘s conclusion in Forest Service Employees that there

                                  26   was no significant public interest in disclosure of the names sought in that case does not apply

                                  27   here because in Forest Service Employees, the underlying events had been the subject of extensive

                                  28   investigation and several public reports whereas here, ―nobody has properly investigated the
                                                                                         44
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                                   1   incident.‖ Carlson Motion at 21. Carlson further asserts that ―not only has defendant not

                                   2   produced a report, defendant is, in this litigation, withholding the record that comes closest to

                                   3   constituting a report . . . .‖ Id. Carlson argues that the public interest of knowing the names of

                                   4   employees in this case is no less than the public interest of knowing the names of TSA

                                   5   policymakers in Gordon. Id. at 20.

                                   6          Carlson expands on this argument in his Reply brief after seeing – apparently for the first

                                   7   time – the Sutanto Letter attached to the Postal Service‘s Opposition brief. Carlson Reply at 7-10.

                                   8   He points to the representation in that letter that as of March 9, 2015, well after the informal

                                   9   investigation of the Incident had begun, that Mr. An did not know the identities of the individuals

                                  10   involved and needed more information to identify them. Id. at 8. Given that around this time

                                  11   Portonovo already knew the identities of these individuals and was conducting record searches

                                  12   using their names, and in light of the fact that she obtained this information from two Postal
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                                  13   Service employees who had conducted an investigation of an incident at a post office that Mr. An

                                  14   was in charge of, Carlson contends the statement in the Sutanto Letter is not credible. Id. Carlson

                                  15   contends that ―Mr. An could not possibly have been unaware of the findings of the investigation,

                                  16   especially as the OIG case number on the Sutanto Letter matches the number on one of the

                                  17   documents produced in response to Carlson‘s First FOIA request. Id. at 8-9. This evidence is

                                  18   indicative of an attempt to cover up the findings of the informal investigation, Carlson asserts, and

                                  19   highlights the public‘s interest in learning the names of the employees involved. Id. at 8-9.

                                  20          Carlson rejects the Postal Service‘s assertions that the Incident implicates only Carlson

                                  21   personally, arguing that the relevant public interest ―derives from whether disclosure would shed

                                  22   light on an agency‘s performance of its statutory duties or let citizens know what their government

                                  23   is up to – even if, hypothetically, plaintiff were the only person who wanted to know what the

                                  24   government was up to.‖ Carlson Reply at 6. He further contends that in fact, he is not the only

                                  25   member of the public who wants to know what the Postal Service‘s employees were up to,

                                  26   offering a series of declarations from Postal enthusiasts who have been following Carlson‘s action,

                                  27   some of whom have had similar encounters when legally taking photographs of Postal Service

                                  28   facilities from adjacent properties. Id. (citing Delaney Decl. ¶ 12; Popkin Decl. ¶ 8; Bahnsen
                                                                                         45
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                                   1   Decl. ¶ 10; Kindahl Decl. ¶ 10; Kalish Decl. ¶¶ 16, 18 & 19). Id. Carlson argues that the Postal

                                   2   Service ignores the public interest of citizens who wish to engage in lawful activity by

                                   3   photographing Postal Service buildings and the public interest implicated by the possibly

                                   4   retaliatory conduct against him; Carlson points out that he has advocated for improvement in

                                   5   service by the Postal Service and there is evidence that the employees involved were aware of

                                   6   Carlson‘s past efforts. Carlson Reply at 11. He asserts that there is a statute that specifically

                                   7   protects Postal watchdogs, prohibiting ―undue or unreasonable discrimination among users of the

                                   8   mails.‖ Id. (quoting 39 U.S.C. § 403(c)).

                                   9                2. Whether the “Similar Files” Requirement is Met
                                  10          As noted above, FOIA Exemption 6 applies to records from ―personnel and medical files

                                  11   and similar files.‖ 5 U.S.C. § 552(b)(6). As the emails from which employee names and email

                                  12   addresses have been redacted are neither personnel nor medical files the Court must determine, as
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                                  13   a threshold matter, whether they are ―similar files.‖ The Court finds that they are.

                                  14          ―The phrase ‗similar files‘ has a ‗broad, rather than a narrow meaning.‘‖ Forest Serv.

                                  15   Employees for Envtl. Ethics v. U.S. Forest Serv., 524 F.3d 1021, 1024 (9th Cir. 2008) (quoting

                                  16   U.S. Dep’t of State v. Wash. Post Co., 456 U.S. 595, 600 (1982)). In particular, the Ninth Circuit

                                  17   has held that ―‗[g]overnment records containing information that applies to particular individuals

                                  18   satisfy the threshold test of Exemption 6.‘‖ Id. (quoting Van Bourg, Allen, Weinberg & Roger v.

                                  19   NLRB, 728 F.2d 1270, 1273 (9th Cir. 1984)). Thus, in Van Bourg, the court held that a list of

                                  20   names and addresses of employees who had been eligible to vote in a representation election

                                  21   constituted a ―similar record.‖ 728 F.2d at 1273. The emails at issue here contain information

                                  22   that applies to particular individuals, revealing their involvement in the Incident, the investigation

                                  23   of the Incident, or the response to Carlson‘s FOIA requests. The information may not be

                                  24   particularly sensitive or intimate, but that is not the test for the ―similar files‖ requirement. See U.

                                  25   S. Dep’t of State v. Washington Post Co., 456 U.S. 595, 600 (1982) (―A proper analysis of the

                                  26   exemption must also take into account the fact that ‗personnel and medical files,‘ the two

                                  27   benchmarks for measuring the term ‗similar files,‘ are likely to contain much information about a

                                  28   particular individual that is not intimate.‖). Further, while Carlson cites a series of cases in which
                                                                                          46
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                                   1   names of government employees were found to fall outside of the ambit of Exemption 6, those

                                   2   cases reached that conclusion only after balancing the privacy interests against the public interest

                                   3   and not on the basis that the records were not ―similar files.‖ See, e.g., U.S. Dep’t of State v. Ray,

                                   4   502 U.S. 164, 175 (1991); Forest Serv. Employees for Envtl. Ethics v. U.S. Forest Serv., 524 F.3d

                                   5   at 1027; Judicial Watch v. Food and Drug Administration, 449 F.3d 141, 153 (D.C. Cir. 2006);

                                   6   Wood v. F.B.I., 432 F.3d 78 (2d Cir. 2005); Nat’l W. Life Ins. Co. v. United States, 512 F. Supp.

                                   7   454, 461 (N.D. Tex. 1980). Therefore, those cases are not inconsistent with the Court‘s

                                   8   conclusion that the ―similar files‖ requirement is met here.

                                   9                 3. Whether Employees’ Privacy Interest Outweighs the Public Interest in
                                                        Disclosure
                                  10
                                               In determining whether disclosure of information constitutes a ―clearly unwarranted
                                  11
                                       invasion of personal privacy,‖ courts conduct a two-step test for balancing individual privacy
                                  12
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                                       rights against the public‘s right of access. Cameranesi v. United States Dep’t of Def., 856 F.3d
 United States District Court




                                  13
                                       626, 637 (9th Cir. 2017). First, the court must ―evaluate the personal privacy interest at stake to
                                  14
                                       ensure ‗that disclosure implicates a personal privacy interest that is nontrivial or . . . more than [ ]
                                  15
                                       de minimis.‖ Id. (quoting Yonemoto v. Dep’t of Vetern’s Affairs, 686 F.3d 681, 693 (9th Cir. 2011)
                                  16
                                       (internal citation and quotation marks omitted)). ―Second, if the agency succeeds in showing that
                                  17
                                       the privacy interest at stake is nontrivial, the requester ‗must show that the public interest sought
                                  18
                                       to be advanced is a significant one and that the information [sought] is likely to advance that
                                  19
                                       interest.‘‖ Id. (quoting Lane v. Dep’t of Interior, 523 F.3d 1128, 1137 (9th Cir. 2008) (alteration
                                  20
                                       in original) (quoting Nat’l Archives & Records Admin. v. Favish, 541 U.S. 157, 172 (2004)
                                  21
                                       (internal quotation marks omitted)). ―‗Otherwise, the invasion of privacy is unwarranted.‘‖ Id.
                                  22
                                       (quoting Favish, 541 U.S. at 172).
                                  23
                                                         a. Whether Employees Have a Nontrivial Privacy Interest in Their Names
                                  24
                                               To establish a non-trivial privacy interest, ―[a] showing that the interest is more than de
                                  25
                                       minimis will suffice.‖ Cameranesi, 856 F.3d at 637-638 (citing Lahr v. Nat’l Transp. Safety Bd.,
                                  26
                                       569 F.3d 964, 977 (9th Cir. 2009)). Thus, ―a disclosure implicates personal privacy if it affects
                                  27
                                       either ‗the individual‘s control of information concerning his or her person,‘ Dep’t of Justice v.
                                  28
                                                                                          47
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                                   1   Reporters Comm. for Freedom of the Press, 489 U.S. 749, 763, 109 S.Ct. 1468, 103 L.Ed.2d 774

                                   2   (1989), or constitutes a ‗public intrusion[ ] long deemed impermissible under the common law and

                                   3   in our cultural traditions,‘‖ Favish, 541 U.S. at 167, 124 S.Ct. 1570.‖ Id.

                                   4          Courts consider a variety of factors in evaluating whether a disclosure would implicate a

                                   5   nontrivial privacy interest. Where the disclosure involves a federal employee there may be a

                                   6   somewhat diminished privacy interest, especially where the information sought would likely

                                   7   disclose official misconduct. Forest Serv. Employees for Envtl. Ethics v. U.S. Forest Serv., 524

                                   8   F.3d 1021, 1025 (9th Cir. 2008) (citation omitted). In addition, the Ninth Circuit has ―placed

                                   9   emphasis on the employee‘s position in her employer‘s hierarchical structure as ‗lower level

                                  10   officials . . . generally have a stronger interest in personal privacy than do senior officials.‘‖ Id.

                                  11   (quoting Dobronski v. FCC, 17 F.3d 275, 278-79 (9th Cir. 1994)). Further, individuals may

                                  12   possess a privacy interests in avoiding the ―embarrassment, shame, stigma, and harassment‖ that
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                                  13   would arise from disclosure of information about them. Id.

                                  14          In Forest Service Employees, the Ninth Circuit addressed whether the identity of twenty-

                                  15   two Forest Service employees were properly redacted under Exemption 6 from an investigative

                                  16   report by the Forest Service, the Cramer Fire Report, about a serious wildfire in which two Forest

                                  17   Service firefighters perished. 524 F.3d at 1022. The report was requested under FOIA by the

                                  18   Forest Service Employees for Environmental Ethics (―FSEEE‖), ―a self-described public interest

                                  19   watchdog organization.‖ Id. at 1023. In addition to the Forest Service‘s investigation, four federal

                                  20   agencies had conducted investigations and multiple reports addressing the reasons for the tragedy

                                  21   had been issued. Id. According to the court, the twenty-two employees whose names were

                                  22   redacted in the Cramer Fire Report ―were ‗low and mid-level‘ employees.‖ Id. at 1026. ―In

                                  23   addition, although the Forest Service has disciplined six of these employees, none ha[d] been

                                  24   accused of official misconduct and the remaining employees were merely cooperating witnesses.‖

                                  25   Id. Therefore, the court concluded as a preliminary matter that ―neither the employees‘ status as

                                  26   civil servants nor the Forest Service‘s disciplinary decisions strip[pped] them of their privacy

                                  27   interests under Exemption 6.‖ Id.

                                  28           The court in Forest Service Employees went on to recognize that disclosure of the
                                                                                          48
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                                   1   identities of the individuals raised the ―potential for harassment‖ by ―the media, curious neighbors,

                                   2   and the FSEEE itself.‖ The court noted that the FSEE planned to contact the individuals and the

                                   3   media would likely do the same as the fire had received ―significant public attention.‖ Id. This

                                   4   contact was likely to be unwelcome, the court found, given that none of the individuals had

                                   5   spoken out about the fire in the intervening years. Id.   In finding that there was a potential for

                                   6   ―harassment,‖ the court pointed to the Supreme Court‘s recognition in U.S. Dep’t of Def. v. FLRA,

                                   7   510 U.S. 487, 494 (1994) that disclosure of the home addresses of federal employees to unions

                                   8   who represent such employees could be subject nonunion employees to an ―influx of union-related

                                   9   mail, and, perhaps, union-related telephone calls or visits,‖ which gave rise to a nontrivial privacy

                                  10   interest on the part of the employees. Id. (citing 510 U.S. at 502). The court also pointed to two

                                  11   Ninth Circuit decisions in which the potential for ―harassment‖ based on ―unwanted commercial

                                  12   solicitations had been found to present a cognizable privacy interest, Painting Indus. of Haw. Mkt.
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                                  13   Recovery Fund v. Dep’t of Air Force, 26 F.3d 1479, 1483 (9th Cir.1994) and Minnis v. U.S. Dep’t

                                  14   of Agric., 737 F.2d 784, 787 (9th Cir.1984). Id.

                                  15          The court in Forest Service Employees further recognized that disclosure of the employees‘

                                  16   identities might subject them to ―embarrassment and stigma‖ as the Forest Service‘s response to

                                  17   the wildfire ―was met with heavy criticism, particularly because the fire claimed the life of two

                                  18   Forest Service employees.‖ Id. The court concluded that these interests were nontrivial and

                                  19   cognizable under Exemption 6. Id.

                                  20          Here, there is no information in the public record as to the level in the Postal Service of the

                                  21   employees whose names were redacted from the responsive documents. As there also is no

                                  22   evidence in the record suggesting they were senior level Postal Service employees, however, the

                                  23   Court takes as its starting point the premise that they were not stripped of their privacy interest by

                                  24   virtue of the fact that they were Postal employees.

                                  25          In reaching this conclusion, the Court is cognizant of the fact that the names and duty

                                  26   stations of Postal Service employees, by themselves, are considered public information under the

                                  27   Postal Service‘s own policies. See Services Handbook AS-353, Guide to Privacy, the Freedom of

                                  28   Information Act, and Records Management § 5-2(b)(1) (―The following data is public
                                                                                          49
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                                   1   information: the name, job title, grade, current salary, duty station, and dates of employment of

                                   2   any current or former Postal Service employee.‖). Thus, in National Western Life Insurance

                                   3   Company v. United States, the court found that a ―bare list of names‖ of Postal Service employees

                                   4   and duty stations was subject to disclosure under FOIA on the basis that ―[i]It [could not] be

                                   5   seriously contended that postal employees have an expectation of privacy with respect to their

                                   6   names and duty stations.‖ 512 F. Supp. 454, 461 (N.D. Tex. 1980). The court noted further that

                                   7   ―[t]he names and addresses of the employees of virtually every other federal agency are

                                   8   disclosable, and in fact, many are routinely published and made available through the Government

                                   9   Printing Office.‖ Id. In this case, however, what Carlson seeks is not a bare list of names.

                                  10   Instead, he seeks the names and email addresses of Postal Service employees in order to link it

                                  11   with other information in the emails, which will disclose their involvement in or connection to the

                                  12   the Incident and the subsequent investigation. Therefore, the Court concludes that the lack of a
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                                  13   privacy interest as to the names alone does not mean there can be no privacy interest as to the

                                  14   employees whose names were redacted by the Postal Service in response to Carlson‘s FOIA

                                  15   Requests.

                                  16          Further, the Court finds that there is some potential for ―harassment‖ as that term has been

                                  17   used by the courts. As the discussion of harassment in Forest Service Employees reflects, this

                                  18   term when used in connection with Exemption 6 does not require that potential conduct with

                                  19   individuals whose identity is at issue need be in any way threatening or even improper – it must

                                  20   only be unwanted. The Postal Service has not offered any evidence that suggests that Carlson has

                                  21   ever engaged in any threatening, or even improper conduct, in connection with his advocacy

                                  22   efforts. Indeed, remarkably absent from the numerous declarations submitted by the Postal

                                  23   Service is any statement suggesting that anyone at the Postal Service has had encounters with

                                  24   Carlson that might be considered ―harassing‖ as that word is used in the everyday sense, much less

                                  25   threatening. Nor is there any evidence that the employees involved in the Incident perceived

                                  26   Carlson as threatening. There is no evidence in the record, for example, that the photographer

                                  27   notified anyone at the Postal Service of a potential threat at the time of the relevant events. What

                                  28   the record does reflect, however, is that Carlson has submitted over a thousand letters to the Postal
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                                   1   Service and has submitted hundreds of FOIA requests. While not improper, this sort of attention

                                   2   is likely to be unwanted by these individuals, just as the attention of the FSEE would have been in

                                   3   Forest Service Employees. Given the low threshold for establishing a privacy interest, the Court

                                   4   concludes this is sufficient to establish a nontrivial privacy interest.

                                   5           While there is a privacy interest at stake, however, the Court finds that it is not particularly

                                   6   strong. As the Postal Service itself points out, this case (in contrast to the circumstances in Forest

                                   7   Services) does not involve an incident that attracted significant public attention, and there is no

                                   8   tragic loss of life associated with the Incident that might give rise to shame or embarrassment from

                                   9   disclosure. Nor does it appear that anyone at the Postal Service was disciplined or found to have

                                  10   engaged in misconduct such that they would have a heightened interest in protecting their

                                  11   identities from disclosure. Even the attention from Carlson that may result from disclosure does

                                  12   not raise the specter of a serious invasion of privacy as Carlson‘s long history of advocacy reflects
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                                  13   that he typically uses official Postal Service channels. Nonetheless, the Court concludes that the

                                  14   privacy interest of the employees is sufficient to satisfy the first step of the test for applying

                                  15   Exemption 6.

                                  16                     b. Whether the Public Interest Outweighs the Employees‘ Privacy Interest
                                  17           Having found that the employees have a nontrivial privacy interest, the Court proceeds to

                                  18   the second step of the test, which asks whether the requested information is likely to advance a

                                  19   significant public interest that outweighs the privacy interest that is at stake. Cameranesi, 856

                                  20   F.3d at 639. The Court concludes that there is and therefore, that Exemption 6 does not apply.

                                  21           ―In considering whether the public interest is significant, ‗the only relevant public interest

                                  22   in the FOIA balancing analysis is the extent to which disclosure of the information sought would

                                  23   she[d] light on an agency‘s performance of its statutory duties or otherwise let citizens know what

                                  24   their government is up to.‘‖ Id. (quoting Yonemoto, 686 F.3d at 694) (internal quotation and

                                  25   citation omitted)). Thus, courts have found that ―information about private citizens that is

                                  26   accumulated in various governmental files but that reveals little or nothing about an agency‘s own

                                  27   conduct is not the type of information to which FOIA permits access.‖ Forest Serv. Emps., 524

                                  28   F.3d at 1025. Likewise, courts ―do not give weight to the FOIA requester‘s personal interest in
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                                   1   obtaining information ‗[b]ecause Congress clearly intended the FOIA to give any member of the

                                   2   public as much right to disclosure as one with a special interest.‘‖ Id. (quoting Dep’t of Defense v.

                                   3   FLRA, 510 U.S. at 496). On the other hand, there is a significant public interest if the requested

                                   4   information will ―appreciably further the public‘s right to monitor the agency‘s action.‖ Id.

                                   5           Carlson does not seek information about himself in Postal Service records. Rather, he

                                   6   seeks the names of employees who engaged in particular conduct related to the Incident. There is

                                   7   conflicting evidence in the record, but a reasonable inference can be drawn from Carlson‘s

                                   8   declarations that the individual who photographed him did so because of Carlson‘s past activities,

                                   9   which include efforts to improve service on the part of the Postal Service. Another possible

                                  10   inference that can be drawn from evidence in the record is that Carlson was photographed in order

                                  11   to intimidate him and not because he was actually perceived as a threat. In addition, with respect

                                  12   to the names of those who participated in the investigation, the Sutanto Letter suggests the
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                                  13   possibility that a supervisor at the Postal Service who told Carlson he did not know the identities

                                  14   of the employees involved in the Incident actually did know their identities at the time, as the

                                  15   records that have been produced reflect that by the time of the letter, the identities of these

                                  16   employees was already know by the Postal Service. The Postal Service also fails to explain why

                                  17   Portonovo appears to have abandoned her efforts to respond to Carlson‘s First FOIA request in

                                  18   March 2015 and only resumed her efforts when Carlson filed this action, almost a year later,

                                  19   which further raises the possibility that the Postal Service may have been intentionally ignoring

                                  20   Carlson‘s First FOIA Request.

                                  21           To the extent that there is evidence that the conduct of the employees who were involved

                                  22   in the Incident may have been in retaliation for Carlson‘s past activities as a watchdog, which are

                                  23   aimed at the Postal Service‘s efficiency, and that those involved in responding to Carlson‘s

                                  24   subsequent inquiries may have engaged in misconduct, the Court concludes the information

                                  25   requested implicates a public interest and not just the personal interest of Carlson. Moreover, as

                                  26   Carlson has noted, his right to be free from retaliation based on his watchdog activities is

                                  27   embodied in the statutory prohibition against retaliation. See 39 U.S.C. § 403(c) (―In providing

                                  28   services and in establishing classifications, rates, and fees under this title, the Postal Service shall
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                                   1   not, except as specifically authorized in this title, make any undue or unreasonable discrimination

                                   2   among users of the mails, nor shall it grant any undue or unreasonable preferences to any such

                                   3   user.‖).

                                   4              The Court also finds that Carlson has established that there is some interest on the part of

                                   5   the public in being able to photograph Postal Facilities legally and without concern that they will

                                   6   be subject to adverse consequences. The Postal Service‘s argument that its employees may, in

                                   7   fact, have been conducting themselves in a sensible manner when they photographed Carlson

                                   8   highlights this interest. See Postal Service Opposition at 3 n. 2 (―While the manner of doing so in

                                   9   this instance may have been perceived as rude, it is not inherently unreasonable to obtain a

                                  10   photograph of a person taking pictures and video of a post office so that, if warranted, others in

                                  11   authority could have information confirming the identity of the person. This could have been

                                  12   particularly useful if anything untoward should have later occurred at the new post office‖). To
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                                  13   the extent the Postal Service appears to be endorsing what amounts to the use of surveillance by

                                  14   Postal employees as to members of the public who have engaged in no wrongful conduct, the

                                  15   public has an interest in understanding who was involved in this Incident and how it was handled.

                                  16              The Court does not find persuasive the Postal Service‘s reliance on Forest Service

                                  17   Employees in support of the conclusion that disclosure of the names does not implicate a

                                  18   significant public interest. In that case, the court found that disclosure of the names of the

                                  19   employees involved in the underlying events did not further a significant public interest. 524 F.3d

                                  20   at 1028. As discussed above, the relevant incident had been investigated by four government

                                  21   agencies and numerous reports had been issued. Id. at 1023. Further, the reports addressed the

                                  22   same issues FSIEE sought to investigate by contacting the individuals directly; in other words,

                                  23   FSIEE planned on verifying the conclusions in the reports. Id. at 1028. Under these

                                  24   circumstances, the court found that the ―marginal additional usefulness‖ of disclosing the

                                  25   identities of the employees did not override their privacy interest. Id. In contrast to Forest Service

                                  26   Employees, no reports have been issued and no information is available to the public in this case.

                                  27   As a consequence, disclosure of the identities of the individuals involved, which would also allow

                                  28   for determination of the positions they held, will pierce of the veil of secrecy that surrounds the
                                                                                            53
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                                   1   Postal Service‘s handling of the Incident as well as the underlying incident. See also Gordon v.

                                   2   FBI, 388 F. Supp. 2d 1028, 1041 (N.D. Cal. 2005) (―The public, however, has an interest in

                                   3   knowing who – and at what level of the government – is working on this significant problem that

                                   4   affects many Americans.‖).17

                                   5           Finally, as noted above, the privacy interest implicated in this case is not strong. The

                                   6   Court concludes that the public interests discussed above significant enough to outweigh that

                                   7   interest. Therefore, the Court concludes that the Postal Service has not met its burden of showing

                                   8   that Exemption 6 applies to the names and email addresses that the Postal Service redacted from

                                   9   the documents it provided to Carlson in response to his FOIA requests.

                                  10           E.   Whether Carlson is a Prevailing Party
                                  11           Under FOIA, ―[t]he court may assess against the United States reasonable attorney fees

                                  12   and other litigation costs reasonably incurred in any case under this section in which the
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                                  13   complainant has substantially prevailed.‖ 5 U.S.C. § 552(a)(4)(E)(1). ―[A] complainant has

                                  14   substantially prevailed if the complainant has obtained relief through either – (I) a judicial order,

                                  15   or an enforceable written agreement or consent decree; or (II) a voluntary or unilateral change in

                                  16   position by the agency, if the complainant‘s claim is not insubstantial.‖

                                  17           Here, the Court finds that Carlson is the prevailing party. First, Carlson has prevailed on

                                  18   his summary judgment motion seeking additional disclosures with respect to the documents the

                                  19   Postal Service produced in response to his First and Second FOIA Requests. Second, the evidence

                                  20   strongly suggests that it was only because he brought this action that the Postal Service finally

                                  21   produced any documents in response to the three FOIA requests that are the subject of this action.

                                  22   In particular, the Portonovo Motion Declaration makes clear that the Postal Service was aware of

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                                       17
                                  24     The Postal Service argues that Gordon is distinguishable because in that case, the individuals
                                       were involved in developing policy. The current record does not provide any basis for the Court
                                  25   to determine the level in the bureaucracy of the individuals whose names have been redacted or to
                                       draw any conclusions as to whether the Postal Service‘s assertion is correct as a factual matter.
                                  26   Even assuming that it is, the Court notes that it appears that the Postal Service has no formal
                                       policy with respect to photographing patrons or members of the public, apparently leaving it to
                                  27   individual employees or managers to determine whether and when such conduct may be proper.
                                       This absence of policy is itself relevant to how the Postal Service functions and implicates the
                                  28   public interest, as does the conduct of the individuals who have engaged in such conduct or
                                       handled complaints about it.
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                                   1   the requests almost a year before Carlson filed this action but that after engaging in some initial

                                   2   efforts to find responsive documents stopped conducting any further search efforts, only resuming

                                   3   when Carlson filed the complaint in this action. The Postal Service has offered no explanation for

                                   4   this long delay and the timing of the Postal Service‘s resumption of its search for responsive

                                   5   documents supports the conclusion it was only because Carlson finally brought legal action

                                   6   against the Postal Service that the search was resumed. Because this evidence supports the

                                   7   conclusion that the Postal Service ignored Carlson‘s FOIA requests for almost a year, it is

                                   8   appropriate to award him his costs in this action. See Elec. Privacy Info. Ctr. v. United States

                                   9   Dep’t of Homeland Sec., 218 F. Supp. 3d 27, 41 (D.D.C. 2016) (―[w]hile ‗[t]he mere filing of the

                                  10   complaint and the subsequent release of the documents is insufficient to establish causation,‘ a

                                  11   significant delay by the agency in complying with FOIA may provide the ‗inference that the

                                  12   agency forgot about, or sought to ignore, a FOIA requester‘s request—and in such a case an award
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                                  13   of [FOIA] costs and fees would be appropriate.‘‖).18

                                  14   IV.     CONCLUSION
                                  15           For the reasons stated above, Carlson‘s Motion is GRANTED. The Postal Service‘s

                                  16   Motion is DENIED. The Postal Service shall provide to Carlson within thirty (30) days of the

                                  17   date of this Order the same responsive documents it previously produced in response to the First

                                  18   and Second FOIA Requests but without redaction of the names, titles and email addresses of the

                                  19   Postal Service employees discussed above, namely, the two employees who were involved in the

                                  20   underlying Incident and the employees who were mentioned in the subsequent internal

                                  21   communications about the Incident. Carlson may file a Bill of Costs with the Clerk‘s Office

                                  22   pursuant to Civil Local Rule 54-1 as the prevailing party in this action. The Clerk is instructed to

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                                       18
                                  27     Because Carlson requests only his costs the Court need not address whether an attorney plaintiff
                                       who represents himself may recover attorneys‘ fees under FOIA‘s fee-shifting provision. See
                                  28   Carlson Motion at 24 (―Plaintiff requests an award of ‗litigation costs‘ . . . which may include
                                       court filing fee, postage, and photocopying expenses.‖).
                                                                                       55
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                                   1   enter judgment in favor of Plaintiff and close the file in this case.

                                   2          IT IS SO ORDERED.

                                   3   Dated: August 18, 2017

                                   4                                                     ______________________________________
                                                                                         JOSEPH C. SPERO
                                   5                                                     Chief Magistrate Judge
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